Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 1 of 65 PageID# 1611




                      EXHIBIT A
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 2 of 65 PageID# 1612




                       CLASS ACTION SETTLEMENT AGREEMENT

           This Class Action Settlement Agreement (“Settlement Agreement”) is entered
   into between and among the Robert Glasscock (“Plaintiff” or “Class Representative”), all
   Class Members, and Serco Inc. (“Serco” or “Defendant”), collectively the “Settling
   Parties.”

   1.       Article 1 – Recitals
   1.1      On January 28, 2020, Plaintiff filed a Complaint (Case No. 1:20-cv-00092) on
            behalf of himself and all the participants in the Serco Inc. 401(k) Plan (“the
            Plan”). The operative complaint is the Amended Complaint filed on May 18, 2020
            (the “Class Action Complaint”) against Defendant. The Class Action Complaint
            asserts various claims under the Employee Retirement Income Security Act of
            1974, 29 U.S.C. § 1001, et seq. (“ERISA”) based on Defendant’s management,
            operation and administration of the Plan.
   1.2      For nearly one year this case was extensively litigated with discovery and motion
            practice, including a motion to dismiss and a motion for class certification.
   1.3      On November 10, 2020, the Settling Parties held a full-day private mediation with
            Bob Meyer of JAMS. The Settling Parties reached agreement on the monetary
            terms of a potential settlement during the mediation and signed a Memorandum of
            Understanding regarding the principal settlement terms dated November 12, 2020.
            Thereafter, the Settling Parties continued negotiations regarding the terms of the
            Settlement Agreement. The entirety of the agreement reached by the Settling
            Parties is memorialized in the Settlement Agreement.
   1.4      The Class Representative and Class Counsel consider it desirable and in the
            Plan’s and Class Members’ best interests that the claims against Defendant be
            settled upon the terms set forth below. The Class Representative and Class
            Counsel have concluded that such terms are fair, reasonable, and adequate and
            that this settlement will result in benefits to the Plan and the Settlement Class.
   1.5      Defendant denies all allegations of wrongdoing and denies all liability for the
            allegations and claims made in the Class Action. Defendant maintains that it is
            without fault or liability. Defendant contends that the Plan has been managed,
            operated and administered at all relevant times in compliance with ERISA and
            applicable regulations, including the fiduciary and prohibited transaction
            provisions of ERISA. The Settlement Agreement, and the discussions between
            the Settling Parties preceding it, shall in no event constitute, be construed as, or be




   66919214v.3
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 3 of 65 PageID# 1613




          deemed evidence of, an admission or concession of any wrongdoing, fault or
          liability of any kind by Defendant.
   1.6    The Settling Parties have concluded that it is desirable that the Class Action be
          finally settled upon the terms and conditions set forth in the Settlement
          Agreement.
   1.7    Therefore, the Settling Parties, in consideration of the promises, covenants, and
          agreements herein described, acknowledged by each of them to be satisfactory
          and adequate, and intending to be legally bound, do hereby mutually agree as
          follows.
   2.     Article 2 – Definitions

           As used in the Settlement Agreement and the Exhibits hereto (as listed in
   Paragraph 13.18), unless otherwise defined, the following terms have the meanings
   specified below:

   2.1    “Administrative Expenses” means expenses incurred in the administration of the
          Settlement Agreement, including (a) all fees, expenses, and costs associated with
          providing the Settlement Notices to the Settlement Class, including but not
          limited to the reasonable fees of the Plan’s recordkeeper to identify the names and
          addresses of Class Members; (b) related tax expenses (including taxes and tax
          expenses as described in Paragraph 5.3); (c) all expenses and costs associated
          with the distribution of funds under the Plan of Allocation borne by the
          Settlement Administrator; (d) all fees and expenses associated with the services
          provided by the Independent Fiduciary, Settlement Administrator, and Escrow
          Agent in connection with the Settlement; and (e) all expenses associated with
          providing CAFA notice. Excluded from Administrative Expenses are internal
          expenses by the Settling Parties, and the Settling Parties’ respective legal
          expenses. Administrative Expenses shall be paid from the Gross Settlement
          Amount.

   2.2    “Alternate Payee” means a person other than a participant or Beneficiary in the
          Plan who is entitled to a benefit under the Plan as a result of a Qualified Domestic
          Relations Order.

   2.3    “Attorneys’ Fees and Costs” means the amount awarded by the Court as
          compensation for the services provided by Class Counsel in connection with the
          Class Action. The amount of attorneys’ fees for Class Counsel shall not exceed an
          amount of 33% (or $396,000 (three hundred ninety-six thousand dollars)) of the
          Gross Settlement Amount, which shall be paid from the Gross Settlement
          Amount. Class Counsel also will seek reimbursement for all costs and expenses
          advanced and carried by Class Counsel in this litigation, not to exceed $80,000




                                                   2
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 4 of 65 PageID# 1614




          (eighty thousand dollars), which also shall be paid from the Gross Settlement
          Amount.

   2.4     “Beneficiary” means a person who currently is entitled to receive a benefit under
          the Plan due to the death of a Plan participant. A Beneficiary includes, but is not
          limited to, a surviving spouse, domestic partner, or child of a Plan participant who
          currently is entitled to a benefit.

   2.5    “Class Action” means the action styled Glasscock v. Serco Inc., Case No. 1:20-
          cv-00092, and venued in the United States District Court for the Eastern District
          of Virginia.

   2.6    “Class Action Complaint” means the Amended Complaint filed in the Class
          Action on May 18, 2020.

   2.7    “Class Counsel” means Jordan Lewis, P.A., Crueger Dickinson LLC, Whitfield
          Bryson LLP, Greg Coleman Law PC, Wexler Wallace LLP, and Wise Law Firm,
          PLC.

   2.8    “Class Members” means all individuals in the Settlement Class.

   2.9    “Class Period” means the period from January 1, 2014 through the date of the
          Preliminary Order.

   2.10   “Class Representative” means Robert Glasscock.

   2.11   “Class Representative’s Compensation” means an amount to be determined by the
          Court, but not to exceed $5,000 (five thousand dollars) for Class Representative,
          which shall be paid from the Gross Settlement Amount directly to the Class
          Representative.

   2.12   “Confidentiality Order” means the Protective Order (ECF No. 46) entered on July
          30, 2020.

   2.13   “Court” means the United States District Court for the Eastern District of Virgina.

   2.14   “Defendant” means Serco Inc.

   2.15   “Defense Counsel” means counsel for Defendant, including Seyfarth Shaw LLP.

   2.16   “Escrow Agent” means Angeion Group, LLC.

   2.17   “Fairness Hearing” means the hearing scheduled by the Court to consider (a) any
          objections from Class Members to the Settlement Agreement, (b) Class Counsel’s
          petition for Attorneys’ Fees and Costs and Class Representative’s Compensation,




                                                   3
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 5 of 65 PageID# 1615




          and (c) whether to finally approve the Settlement Agreement under Fed. R. Civ.
          P. 23.

   2.18   “Final Order” means the order and final judgment approving the Settlement
          Agreement, implementing the terms of the Settlement Agreement, and dismissing
          the Class Action with prejudice, to be proposed by the Settling Parties for
          approval by the Court, in substantially the form attached as Exhibit 4 hereto.

   2.19   “Final” means with respect to any judicial ruling, order, or judgment that the
          period for any motions for reconsideration, motions for rehearing, appeals,
          petitions for certiorari, or the like (“Review Proceeding”) has expired without the
          initiation of a Review Proceeding, or, if a Review Proceeding has been timely
          initiated, that it has been fully and finally resolved, either by court action or by
          voluntary action of any Settling Party, without any possibility of a reversal,
          vacatur, or modification of any judicial ruling, order, or judgment, including the
          exhaustion of all proceedings in any remand or subsequent appeal and remand.
          The Settling Parties agree that absent an appeal or other attempted review
          proceeding, the period after which the Final Order becomes Final is fourteen (14)
          calendar days after the time for appeal expires. If any person appeals, the Final
          Order shall become Final fourteen (14) calendar days after the appeal is resolved
          and the time for all further appeal expires.

   2.20   “Gross Settlement Amount” means the sum of one million two-hundred thousand
          dollars ($1,200,000), paid to the Qualified Settlement Fund in accordance with
          Article 5. The Gross Settlement Amount shall be the full and sole monetary
          payment to the Settlement Class, Plaintiff, and Class Counsel made on behalf of
          Defendant in connection with the Settlement effectuated through the Settlement
          Agreement. Once the Final Order is Final, no portion of the Gross Settlement
          Amount shall be returned to Defendant.

   2.21   “Independent Fiduciary” means Fiduciary Counselors Inc.

   2.22   “Net Settlement Amount” means the Gross Settlement Amount minus: (a) all
          Attorneys’ Fees and Costs paid to Class Counsel; (b) Class Representative
          Compensation as authorized by the Court; (c) all Administrative Expenses; and
          (d) a contingency reserve not to exceed an amount to be mutually agreed upon by
          the Settling Parties that is set aside by the Settlement Administrator for: (1)
          Administrative Expenses incurred before the Settlement Effective Date but not yet
          paid, (2) Administrative Expenses estimated to be incurred after the Settlement
          Effective Date, and (3) an amount estimated for adjustments of data or calculation
          errors.

   2.23   “Plan” means the Serco Inc. Non-Union 401(k) Plan.




                                                   4
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 6 of 65 PageID# 1616




   2.24   “Plan of Allocation” means the methodology for allocating and distributing the
          Net Settlement Amount in accordance with Article 6 herein.

   2.25   “Preliminary Order” means the order proposed by the Settling Parties and
          approved by the Court in connection with the Motion for Entry of the Preliminary
          Order to be filed by Class Representatives through Class Counsel, as described in
          Paragraph 3.2 and in substantially the form attached hereto as Exhibit 1.

   2.26    “Qualified Settlement Fund” or “Settlement Fund” means the interest-bearing,
          settlement fund account to be established and maintained by the Escrow Agent in
          accordance with Article 5 herein and referred to as the Qualified Settlement Fund
          (within the meaning of Treas. Reg. § 1.468B-1).

   2.27   “Released Claims” means any and all actual or potential claims, actions, demands,
          rights, obligations, liabilities, damages, attorneys' fees, expenses, costs, and
          causes of action, whether arising under local, state, or federal law, whether by
          statute, contract, common law, equity, or otherwise, whether brought in an
          individual, representative, or any other capacity, whether involving legal
          equitable, injunctive, declarative, or any other type of relief (including, without
          limitation, indemnification or contribution), whether, known or unknown,
          suspected or unsuspected, asserted or unasserted, foreseen or unforeseen, actual or
          contingent, liquidated or unliquidated, that have been, could have been, or could
          be brought by or on behalf of all or any member of the Settlement Class or the
          Plan at any point prior to the Court's final approval of the Settlement. Released
          Claims also include: claims that were asserted in the Lawsuit; claims that might
          have been asserted in the lawsuit under any legal or equitable basis related in any
          way to the Plan; claims that relate in any way to the fees, expenses, and
          investments of the Plan; claims that, that assert a claim for breach of fiduciary
          duty against any Plan fiduciary; claims, that relate to the compensation or services
          of any Plan service provider; claims that relate to or arise out of the defense or
          settlement of the Lawsuit, including any claim that the Settlement Agreement or
          any aspect of its implementation violates any applicable law or right of any Class
          Member; or claims that would have been barred by the doctrine of res judicata or
          claim preclusion had the Lawsuit been fully litigated to a final judgment.

   2.28   Released Claims specifically exclude (1) claims of individual denial of benefits
          under ERISA § 502(a)(1)(B), 29 U.S.C. § 1132(a)(1)(B) that do not fall within
          any of the categories identified in 2.27 above; (2) wages, labor or employment
          claims unrelated to the Plan, including by way of example only, claims, arising
          under Title VII of the Civil Rights Act of 1964, the Age Discrimination in
          Employment Act, the Americans with Disabilities Act, the Equal Pay Act, 42
          U.S.C. § 1981, the Fair Labor Standards Act, the Family and Medical Leave Act,
          the National Labor Relations Act, the Sarbanes Oxley Act, the Dodd-Frank Wall
          Street Reform and Protection Act, state anti-discrimination and wage-payment




                                                   5
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 7 of 65 PageID# 1617




          laws, claims for wrongful termination under state common law and other state law
          claims of a similar nature to those set forth in this subpart (2); and (3) claims
          arising exclusively from conduct outside the Class Period.

   2.29    “Released Settling Parties” means (i) Defendant, its parent, subsidiaries and
          affiliates, (ii) the Plan, (iii) every person who was a director, officer, governor,
          management committee member, in-house counsel, employee, or agent of
          Defendant and any of its parents, subsidiaries, and affiliates, (iv) any trustee or
          fiduciary (including de facto fiduciaries) for the Plan, together with any present or
          former representatives, insurers, reinsurers, consultants, administrators,
          representatives, attorneys, employee benefit plans, investment advisors,
          investment underwriters, and spouses, (v) the Plan’s recordkeeper and trustee as
          well as any other service providers, consultants or advisors to the Plan or to any
          Plan fiduciary, and (vi) with respect to (i) through (v) above their past, present
          and future members of their respective boards of directors, managers, partners,
          agents, members, shareholders (in their capacity as such), officers, employees,
          independent contractors, representatives, attorneys, administrators, fiduciaries,
          accountants, auditors, advisors, consultants, personal representatives, spouses,
          heirs, executors, administrators, associates, employee benefit plan fiduciaries
          (with the exception of the Independent Fiduciary), employee benefit plan
          administrators, and all other service providers to the Plan (including their owners
          and employees), members of their immediate families, consultants,
          subcontractors, and all persons acting under, by, through, or in concert with any
          of them.

   2.30   “Settlement” refers to the agreement embodied in this agreement and its exhibits.

   2.31   “Settlement Administrator” means Angeion Group, an independent contractor,
          retained by Class Counsel.

   2.32   “Settlement Agreement Execution Date” means that date on which the final
          signature is affixed to the Settlement Agreement.

   2.33   “Settlement Class” means all persons who have been Participants, Beneficiaries
          and Alternate Payees of the Plan from January 1, 2014 through the date of the
          Preliminary Order, except for past and present members of Defendant’s 401(k)
          Committee from January 1, 2014 through the date of the Preliminary Order
          (“Class Period”).

   2.34   “Settlement Effective Date” means the date on which the Final Order is Final,
          provided that by such date the Settlement has not been terminated in accordance
          with Article 11.

   2.35   “Settlement Notice” means the Notice of Class Action Settlement and Fairness
          Hearing to be provided to Class Members identified by the Settlement



                                                    6
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 8 of 65 PageID# 1618




          Administrator following the Court’s issuance of the Preliminary Order. The full
          Settlement Notice will be available on the Settlement Website, in substantially the
          form attached hereto as Exhibit 2. The full Settlement Notice also shall inform
          Class Members of a Fairness Hearing to be held before the Court, on a date to be
          determined by the Court, at which any Class Member satisfying the conditions set
          forth in the Preliminary Order and the Settlement Notice may be heard regarding:
          (a) the terms of the Settlement Agreement; (b) the petition of Class Counsel for
          award of Attorneys’ Fees and Costs; (c) payment of and reserve for
          Administrative Expenses; and (d) Class Representative’s Compensation. In
          addition, Class Members identified by the Settlement Administrator following the
          Court’s issuance of the Preliminary Order will receive a “Postcard Settlement
          Notice”, in substantially the form attached hereto as Exhibit 3. The Postcard
          Settlement Notice also shall inform Class Members of a Fairness Hearing to be
          held before the Court, on a date to be determined by the Court, at which any Class
          Member satisfying the conditions set forth in the Preliminary Order and the
          Settlement Notice may be heard regarding: (a) the terms of the Settlement
          Agreement; (b) the petition of Class Counsel for award of Attorneys’ Fees and
          Costs; (c) payment of and reserve for Administrative Expenses; and (d) Class
          Representative’s Compensation. The Postcard Settlement Notice shall direct Class
          Members to the Settlement Website for additional information.

   2.36   “Settlement Website” means the internet website established in accordance with
          Paragraph 12.2. The settlement website will be called:
          www.GlasscockLitigation.com

   2.37   “Settling Parties” or "Settling Party” means Defendant and/or the Class
          Representative, on behalf of himself, the Plan, and each of the Class Members.

   3.     Article 3 – Review and Approval by Independent Fiduciary, Preliminary
          Settlement Approval, and Notice to the Class

   3.1    The Independent Fiduciary shall have the following responsibilities, including
          whether to approve and authorize the settlement of Released Claims on behalf of
          the Plan.

          3.1.1    The Independent Fiduciary shall comply with all relevant conditions set
                   forth in Prohibited Transaction Class Exemption 2003-39, “Release of
                   Claims and Extensions of Credit in Connection with Litigation,” issued
                   December 31, 2003, by the United States Department of Labor, 68 Fed.
                   Reg. 75,632, as amended (“PTE 2003-39”) in making its determination,
                   for the purpose of Defendant’s reliance on PTE 2003-39.

          3.1.2    The Independent Fiduciary shall notify Serco directly of its
                   determination in writing, which notification shall be delivered no later
                   than thirty (30) calendar days before the Fairness Hearing. Within five



                                                   7
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 9 of 65 PageID# 1619




                  (5) business days of receipt of the Independent Fiduciary’s written
                  determination, Serco will provide a copy of the written determination to
                  Class Counsel.

         3.1.3   All fees and expenses associated with the Independent Fiduciary’s
                 determination and performance of its other obligations in connection
                 with the Settlement will constitute Administrative Expenses to be
                 deducted from the Gross Settlement Amount.

         3.1.4   Serco, Defense Counsel, and Class Counsel shall respond to reasonable
                 requests by the Independent Fiduciary for information so that the
                 Independent Fiduciary can review and evaluate the Settlement
                 Agreement.

         3.1.5   Within fifteen (15) calendar days of receipt of the written determination
                 by the Independent Fiduciary, Serco shall (a) review the determination
                 by the Independent Fiduciary, (b) conclude whether the Independent
                 Fiduciary has made the determinations required by PTE 2003-39, and
                 (c) notify Class Counsel in writing of its conclusion in that regard.

   3.2   Class Representative, through Class Counsel, shall file with the Court motions
         seeking preliminary approval of the Settlement Agreement, joint modification of
         the class definition, and for entry of the Preliminary Order in substantially the
         form attached hereto as Exhibit 1. The Preliminary Order to be presented to the
         Court shall, among other things:

         3.2.1   Grant the motion to certify the Class as a mandatory non-opt-out class
                 pursuant to Fed. R. Civ. P. 23(b)(1);

         3.2.2   Approve the text of the Settlement Notice for mailing to Class Members
                 identified by the Settlement Administrator to notify them (1) of the
                 Fairness Hearing and (2) that notice of changes to the Settlement
                 Agreement, future orders regarding the Settlement, modifications to the
                 Class Notice, changes in the date or timing of the Fairness Hearing, or
                 other modifications to the Settlement, including the Plan of Allocation,
                 may be provided to the Class through the Settlement Website without
                 requiring additional mailed notice;

         3.2.3   Determine that under Rule 23(c)(2)(A) of the Federal Rules of Civil
                 Procedure, the Settlement Notice constitutes appropriate notice under the
                 circumstances, provides due and sufficient notice of the Fairness Hearing
                 and of the rights of all Class Members, and complies fully with the
                 requirements of Fed. R. Civ. P. 23, the Constitution of the United States,
                 and any other applicable law;




                                                 8
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 10 of 65 PageID# 1620




         3.2.4    Cause the Settlement Administrator to send the Settlement Notice by
                  mail or electronic-mail to each Class Member identified by the
                  Settlement Administrator based upon the information provided by the
                  Plan or its recordkeeper;

         3.2.5    Provide that, pending final determination of whether the Settlement
                  Agreement should be approved, every Class Member is prohibited and
                  enjoined from directly, through representatives, or in any other capacity,
                  commencing any action or proceeding in any court or tribunal asserting
                  any of the Released Claims against any Released Settling Party or the
                  Plan;

         3.2.6    Set the Fairness Hearing for no sooner than one hundred twenty (120)
                  calendar days after the date the Motion for Entry of the Preliminary
                  Order is filed, in order to determine whether (i) the Court should approve
                  the Settlement as fair, reasonable, and adequate, (ii) the Court should
                  enter the Final Order, and (iii) the Court should approve the application
                  for Attorneys’ Fees and Costs, Class Representative’s Compensation,
                  Administrative Expenses incurred to date, and a reserve for anticipated
                  future Administrative Expenses;

         3.2.7    Provide that any objections to any aspect of the Settlement Agreement
                  shall be heard, and any papers submitted in support of said objections
                  shall be considered, by the Court at the Fairness Hearing if they have
                  been filed validly with the Clerk of the Court and copies provided to
                  Class Counsel and Defense Counsel. To be filed validly, the objection
                  and any notice of intent to appear or supporting documents must be filed
                  at least thirty (30) calendar days prior to the scheduled Fairness Hearing.
                  Any person wishing to speak at the Fairness Hearing shall file and serve
                  a notice of intent to appear within the time limitation set forth above;

         3.2.8    Provide that any Settling Party may file a response to an objection by a
                  Class Member;

         3.2.9    Provide that the Fairness Hearing may, without further direct notice to
                  the Class Members, other than by notice to Class Counsel, be adjourned
                  or continued by order of the Court; and

         3.2.10   Determine that the information to be provided to the Settlement
                  Administrator in connection with the administration of the settlement
                  constitutes Confidential Information protected from public disclosure by
                  the Confidentiality Order.

   3.3   Defendant and Defense Counsel shall use reasonable efforts to respond timely to
         written requests, including by e-mail, from the Settlement Administrator for



                                                  9
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 11 of 65 PageID# 1621




         readily accessible data that are reasonably necessary to determine the feasibility
         of administering the Plan of Allocation or to implement the Plan of Allocation.
         The actual and reasonable expenses of the Plan’s recordkeeper, that are necessary
         to perform such work shall constitute an Administrative Expense to be deducted
         from the Gross Settlement Amount.

         3.3.1    The Settlement Administrator shall be bound by the Confidentiality
                  Order and any further non-disclosure or security protocol required by the
                  Settling Parties.

         3.3.2    The Settlement Administrator shall use the data provided by Defendant
                  and the Plan’s recordkeeper solely for the purpose of meeting its
                  obligations as Settlement Administrator, and for no other purpose.

         3.3.3    The Settling Parties shall have the right to approve a written protocol to
                  be provided by the Settlement Administrator concerning how the
                  Settlement Administrator will maintain and store information provided to
                  it in order to ensure that reasonable and necessary precautions are taken
                  to safeguard the privacy and security of such information.

   3.4   By the date and in the manner set by the Court in the Preliminary Order, and
         unless otherwise set forth below, the Settlement Administrator shall:

         3.4.1    Cause to be provided to each Class Member identified by the Settlement
                  Administrator a Settlement Notice in the form and manner to be
                  approved by the Court, which shall be in substantially the form attached
                  hereto as Exhibit 2 or a form subsequently agreed to by the Settling
                  Parties and approved by the Court. The Settlement Notice shall be sent to
                  the last known email address of each Class Member provided by the
                  Plan’s recordkeeper (or its designee) through Defense Counsel, unless an
                  updated address is obtained by the Settlement Administrator through its
                  efforts to verify the last known addresses provided by the Plan’s
                  recordkeeper (or its designee). The Settlement Notice may be sent by
                  email to all Class Members for whom Defendant has an email address.
                  The Postcard Settlement Notice shall be sent to all Class members for
                  whom an email address is not available. The Postcard Settlement Notice
                  shall also be sent to all Class Members to whom delivery of the
                  Settlement Notice by email bounced back. Class Counsel also shall post
                  a copy of the Settlement Notice on the Settlement Website. The
                  Settlement Administrator shall use commercially reasonable efforts to
                  locate any Class Member whose Settlement Notice is returned and re-
                  send such documents one additional time.




                                                 10
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 12 of 65 PageID# 1622




   4.    Article 4 – Final Settlement Approval

   4.1   No later than ten (10) business days before the Fairness Hearing, Class Counsel
         shall submit to the Court a mutually agreed upon motion for entry of the Final
         Order (Exhibit 4) in the form approved by Class Counsel and Defense Counsel,
         which shall request approval by the Court of the terms of the Settlement
         Agreement and entry of the Final Order in accordance with the Settlement
         Agreement. The Final Order as proposed shall provide for the following, among
         other things, as is necessary to carry out the Settlement consistent with applicable
         law and governing Plan documents:

         4.1.1    Approval of the Settlement of the Released Claims covered by the
                  Settlement Agreement adjudging the terms of the Settlement Agreement
                  to be fair, reasonable, and adequate to the Plan and the Class Members
                  and directing the Settling Parties to take the necessary steps to effectuate
                  the terms of the Settlement Agreement;

         4.1.2    A determination under Rule 23(c)(2)(A) of the Federal Rules of Civil
                  Procedure that the Settlement Notice constitutes appropriate notice under
                  the circumstances and that due and sufficient notice of the Fairness
                  Hearing and the rights of all Class Members has been provided;

         4.1.3    Dismissal with prejudice of the Class Action and all Released Claims
                  asserted therein whether asserted by Class Representative on his own
                  behalf or on behalf of the Class Members, or derivatively to secure relief
                  for the Plan, without costs to any of the Settling Parties other than as
                  provided for in the Settlement Agreement.

         4.1.4    That each Class Member (and their respective heirs, beneficiaries,
                  executors, administrators, estates, past and present partners, officers,
                  directors, agents, attorneys, predecessors, successors, and assigns) shall
                  be (i) conclusively deemed to have, and by operation of the Final Order
                  to have, fully, finally, and forever settled, released, relinquished, waived,
                  and discharged the Released Settling Parties and the Plan from all
                  Released Claims, and (ii) barred and enjoined from suing the Released
                  Settling Parties or the Plan in any action or proceeding alleging any of
                  the Released Claims, even if any Class Member may thereafter discover
                  facts in addition to or different from those which the Class Members or
                  Class Counsel now know or believe to be true with respect to the Class
                  Action and the Released Claims, whether or not such Class Members
                  have filed an objection to the Settlement or to any application by Class
                  Counsel for an award of Attorneys’ Fees and Cost;

         4.1.5    That the Plan and each Class Member (and their respective heirs,
                  beneficiaries, executors, administrators, estates, past and present



                                                  11
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 13 of 65 PageID# 1623




                  partners, officers, directors, agents, attorneys, predecessors, successors,
                  and assigns) on behalf of the Plan shall be (i) conclusively deemed to
                  have, and by operation of the Final Order shall have, fully, finally, and
                  forever settled, released, relinquished, waived, and discharged the
                  Released Settling Parties from all Released Claims, and (ii) barred and
                  enjoined from suing the Released Settling Parties in any action or
                  proceeding alleging any of the Released Claims, even if the Plan or any
                  Class Member on behalf of the Plan may thereafter discover facts in
                  addition to or different from those which the Plan or any Class Member
                  now knows or believes to be true with respect to the Class Action and the
                  Released Claims;

         4.1.6    That each Class Member shall release the Released Settling Parties,
                  Defense Counsel, Class Counsel, and the Plan for any claims, liabilities,
                  and attorneys’ fees and expenses arising from the allocation of the Gross
                  Settlement Amount or Net Settlement Amount and for all tax liability
                  and associated penalties and interest as well as related attorneys’ fees
                  and expenses;

         4.1.7    That all applicable CAFA requirements have been satisfied;

         4.1.8    That the Settlement Administrator shall have final authority to determine
                  the share of the Net Settlement Amount to be allocated to each Class
                  Member in accordance with the Plan of Allocation approved by the
                  Court and the Settling Parties;

         4.1.9    That within twenty-one (21) calendar days following the issuance of all
                  settlement payments to Class Members as provided by the Plan of
                  Allocation approved by the Court, the Settlement Administrator shall
                  prepare and provide to Class Counsel and Defense Counsel a list of each
                  person who received a settlement payment or contribution from the
                  Qualified Settlement Fund and the amount of such payment or
                  contribution.

   4.2   The Final Order and judgment entered by the Court approving the Settlement
         Agreement shall provide that upon its entry all Settling Parties, the Settlement
         Class, and the Plan shall be bound by the Settlement Agreement and by the Final
         Order.

   5.    Article 5 – Establishment of Qualified Settlement Fund

   5.1   No later than five (5) business days after entry of the Preliminary Order, the
         Escrow Agent shall establish an escrow account. The Settling Parties agree that
         the escrow account is intended to be, and will be, an interest-bearing Qualified
         Settlement Fund within the meaning of Treas. Reg. § 1.468B-1. In addition, the



                                                 12
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 14 of 65 PageID# 1624




         Escrow Agent timely shall make such elections as necessary or advisable to carry
         out the provisions of this paragraph, including the “relation-back election” (as
         defined in Treas. Reg. § 1.468B-1) back to the earliest permitted date. Such
         elections shall be made in compliance with the procedures and requirements
         contained in such regulations. It shall be the responsibility of the Escrow Agent to
         prepare and deliver, in a timely and proper manner, the necessary documentation
         for signature by all necessary Settling Parties, and thereafter to cause the
         appropriate filing to occur.

   5.2   For the purpose of § 468B of the Internal Revenue Code of 1986, as amended,
         and the regulations promulgated thereunder, the “administrator” shall be the
         Escrow Agent. The Escrow Agent, or the Settlement Administrator on its behalf,
         shall timely and properly cause to be filed all informational and other tax returns
         necessary or advisable with respect to the Gross Settlement Amount (including
         without limitation applying for a Taxpayer Identification Number for the Fund
         and filing the returns described in Treas. Reg. § 1.468B-2(k)). Such returns as
         well as the election described in Paragraph 5.1 shall be consistent with this Article
         5 and, in all events, shall reflect that all taxes (as defined in Paragraph 5.3 below)
         (including any estimated taxes, interest, or penalties) on the income earned by the
         Gross Settlement Amount shall be deducted and paid from the Gross Settlement
         Amount as provided in Paragraph 5.3.

   5.3   Taxes and tax expenses are Administrative Expenses to be deducted and paid
         from the Gross Settlement Amount, including but not limited to: (1) all taxes
         (including any estimated taxes, interest, or penalties) arising with respect to the
         income earned by the Gross Settlement Amount, including any taxes or tax
         detriments that may be imposed upon Defendant or Defense Counsel with respect
         to any income earned by the Gross Settlement Amount for any period during
         which the Gross Settlement Amount does not qualify as a “qualified settlement
         fund” for federal or state income tax purposes, and (2) all tax expenses and costs
         incurred in connection with the operation and implementation of this Article 5
         (including, without limitation, expenses of tax attorneys and/or accountants and
         mailing and distribution costs and expenses relating to filing (or failing to file) the
         returns described in this Article 5). Such taxes and tax expenses shall be
         Administrative Expenses and shall be paid timely by the Escrow Agent out of the
         Gross Settlement Amount without prior order from the Court. The Escrow Agent
         shall be obligated (notwithstanding anything herein to the contrary) to withhold
         from distribution to any Class Member any funds necessary to pay such amounts,
         including the establishment of adequate reserves for any taxes and tax expenses
         (as well as any amounts that may be required to be withheld under Treas. Reg. §
         1.468B-2(1)(2)); neither the Released Settling Parties, Defense Counsel, nor Class
         Counsel are responsible nor shall they have any liability therefor. The Settling
         Parties agree to cooperate with the Escrow Agent, each other, and their tax




                                                   13
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 15 of 65 PageID# 1625




         attorneys and accountants to the extent reasonably necessary to carry out the
         provisions of this Article 5.

   5.4   Within twenty (20) calendar days after the Preliminary Order is entered, Serco /or
         its agents or insurers, will deposit $1,200,000 (one million two-hundred thousand
         dollars) into the Qualified Settlement Fund. Provided, however, that Serco will
         only be obligated to deposit these funds if the Escrow Agent shall have furnished
         to Defendant in writing the escrow account name, IRS W-9 Form, and all
         necessary wiring instructions within three (3) business days after the entry of the
         Preliminary Order and Serco shall have received a copy of the signed Preliminary
         Order.

   5.5   The Escrow Agent shall, at the written direction of Class Counsel, invest the
         Qualified Settlement Fund in short-term United States Agency or Treasury
         Securities or other instruments backed by the Full Faith and Credit of the United
         States Government or an Agency thereof if feasible, or else in an account fully
         insured by the United States Government or an Agency thereof, and shall reinvest
         the proceeds of these investments as they mature in similar instruments at their
         then-current market rates.

   5.6   The Escrow Agent shall not disburse the Qualified Settlement Fund or any portion
         except as provided in the Settlement Agreement, in an order of the Court, or in a
         subsequent written stipulation between Class Counsel and Defense Counsel.
         Subject to the orders of the Court, the Escrow Agent is authorized to execute such
         transactions as are consistent with the terms of the Settlement Agreement.

   5.7   Prior to the Settlement Effective Date, the Escrow Agent shall disburse up to
         $25,000 (twenty-five thousand dollars) to the Settlement Administrator for costs
         actually incurred in connection with distribution of the Notice.

   5.8   After the Settlement Effective Date, the Gross Settlement Amount will be
         distributed from the Qualified Settlement Fund as follows: (a) first, all Attorneys’
         Fees and costs shall be paid to Class Counsel no later than eight (8) calendar days
         after the Settlement Effective Date; (b) second, all Administrative Expenses not
         paid previously shall be paid no later than eight (8) calendar days after the
         Settlement Effective Date; (c) third, any Class Representative Compensation
         ordered by the Court shall be paid no later eight (8) calendar days after the
         Settlement Effective Date; (d) fourth, a contingency reserve not to exceed an
         amount to be mutually agreed upon by the Settling Parties shall be set aside by the
         Settlement Administrator for: (1) Administrative Expenses incurred before the
         Settlement Effective Date but not yet paid, (2) Administrative Expenses estimated
         to be incurred after the Settlement Effective Date, and (3) an amount estimated for
         adjustments of data or calculation errors; and (e) fifth, no earlier than 14 business
         days after the expiration period for all appeals from the Court’s final approval of
         the Settlement, the Net Settlement Amount will be distributed in accordance with



                                                  14
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 16 of 65 PageID# 1626




         the Plan of Allocation; and (f) sixth, any funds from the Net Settlement Amount
         that remain uncashed or otherwise undistributed, after efforts to locate Class
         Members have been exhausted by the Settlement Administrator in the manner set
         forth in Section 3.41, will be distributed cy pres to the Fisher House Foundation.
         Pending final distribution of the Net Settlement Amount in accordance with the
         Plan of Allocation, the Escrow Agent will maintain the Qualified Settlement
         Fund.

   5.9   The Escrow Agent, or the Settlement Administrator on its behalf, shall be
         responsible for making provision for the payment from the Qualified Settlement
         Fund of all taxes and tax expenses, if any, owed with respect to the Qualified
         Settlement Fund and for all tax reporting, remittance, and/or withholding
         obligations, if any, for amounts distributed from it. Released Settling Parties,
         Defense Counsel, and Class Counsel have no responsibility or any liability for
         any taxes or tax expenses owed by, or any tax reporting or withholding
         obligations, if any, of the Qualified Settlement Fund.

   6.    Article 6 – Plan of Allocation

   6.1   After the Settlement Effective Date, the Settlement Administrator shall cause the
         Net Settlement Amount (as defined in § 2.22) to be allocated and distributed in
         accordance with the Plan of Allocation set forth in this Article 6 and as ordered by
         the Court.

   6.2   Calculation of Settlement Payments

         6.2.1    Upon determining the Net Settlement Amount in accordance with the
                  preceeding sections, the Settlement Administrator shall divide the Net
                  Settlement Amount into 24 equal Quarterly Settlement Allocations.

         6.2.2    Each Quarterly Settlement Allocation will be allocated proportionally
                  based on each Class Member's account balance at the close of each
                  quarter of the Class Period (that Class Member's “Quarterly Balance”).

         6.2.3    For each quarter of the Class Period, the settlement administrator shall,
                  calculate the total of all Quarterly Balances for that quarter. For each
                  Class Member who had a balance in a given quarter, the Settlement
                  Administrator shall divide that Class Member’s Quarterly Balance for
                  such quarter by the total Quarterly Balances for such quarter where (i.e.
                  the numerator is the Class Member's Quarterly Balance for a given
                  quarter and the denominator is the sum of all Class Members' Balances
                  for that quarter). This is each Class Member’s Quarterly Proportion.

         6.2.4    The Settlement Administrator shall then multiply each Class Member’s
                  Quarterly Proportion for a given quarter by the Quarterly Settlement



                                                 15
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 17 of 65 PageID# 1627




                 Allocation for that quarter, resulting in a Class Member’s Quarterly
                 Payment.

         6.2.5   The Settlement Administrator shall then add all the Quarterly Payments
                 for each respective Class Member, resulting in the Class Member Total
                 Payment. Class Members other than Class Representative who no longer
                 have an account in the Plan and who have a Class Member Total
                 Payment of less than $10 (ten dollars) (the "De Minimis Amount") shall
                 receive no allocation from the Net Settlement Amount. The Settlement
                 Administrator shall then, taking into account the Class Members who
                 will receive nothing because they do not satisfy the De Minimis Amount,
                 recalculate the amount to distribute to Class Members to arrive at the
                 amount ot be paid to each remaining Class Member. The amounts paid to
                 each individual Class Member is referred to as the Payment. The sum of
                 the Payments must equal the Net Settlement Amount.

   6.3   Payments To Participants With Plan Accounts

         6.3.1   For Class Members with a Plan account at the time of distribution, their
                 Payment will be allocated into their Plan account. In order for this
                 allocation to occur, after the Effective Date, the Settlement
                 Administrator shall wire to the Plan recordkeeper funds that total the
                 sum of the Payments to be deposited into accounts of Class Members
                 along with the information and/or data needed to determine the Payment
                 due to each of these Class Members. The Settlement Administator will
                 then allocate each Payment into the account of each Class Member with
                 a Plan account. The Recordkeeper shall allocate the Payment pursuant to
                 the Class Member 's investment elections on file for new contributions. If
                 the Class Member has no election on file, the Payment shall be invested
                 in any default investment option(s) designated by the Plan. All such
                 allocations shall be treated for administrative and reporting purposes as
                 investment earnings.

   6.4   Payments to Former Participants

         6.4.1   Class Members who no longer have a Plan account (“Former
                 Participants”) shall be paid directly by the Settlement Administrator by
                 check. All such payments are intended by the Settlement Class to be
                 "restorative payments" in accordance with Internal Revenue Service
                 Revenue Ruling 2002-45.

         6.4.2   Checks issued to Former Participants pursuant to this paragraph shall be
                 valid for 180 days from the date of issue. All checks that are undelivered
                 or are not cashed before their expiration date shall revert to the Qualified
                 Settlement Fund.



                                                 16
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 18 of 65 PageID# 1628




   6.5   The Settlement Administrator shall utilize the calculations required to be
         performed herein for making the Payments, less any required tax withholdings or
         penalties, to each Class Member. In the event that the Settlement Administrator
         determines that the Plan of Allocation would otherwise require payments
         exceeding the Net Settlement Fund, the Settlement Administrator is authorized to
         make such changes as are necessary to the Plan of Allocation such that said totals
         do not exceed the Net Settlement Fund. The Settlement Administrator shall be
         solely responsible for performing any calculations required by this Plan of
         Allocation.

   6.6   If the Settlement Administrator concludes that it is impracticable to implement
         any provision of this Plan of Allocation, the Parties will modify promptly the
         terms of this Plan of Allocation and present such modified terms, first, to the
         Independent Fiduciary for its review and approval and, second, to the Court for its
         approval. Direct mailed notice to Class Members of such proposed modification
         of the Plan of Allocation shall not be required. However, Class Counsel shall post
         notice of such proposed modification on the Settlement Website within five (5)
         business days of the date that the proposed modification is submitted to the Court
         for its approval. If the proposed modification is implemented, Class Counsel shall
         post notice of such modification on the Settlement Website within five (5)
         business days of the date that the modification was implemented.

   6.7   Within ten (10) business days of completing the distribution of all Payments, the
         Settlement Administrator shall send to Class Counsel and Defense Counsel one
         or more affidavits stating the following: (a) the name of each Class Member to
         whom the Settlement Administrator made a distribution from the Net Settlement
         Amount, together with the amount of the distribution, the name of the payee, the
         date of distribution, the amount of tax withholdings, if applicable, and the date of
         remittance of tax withholdings to the appropriate tax authority, if applicable; (b)
         the date(s) upon which such distribution was made; (c) the name of each Class
         Member whose distribution was returned as undeliverable; and (d) the efforts
         made by the Settlement Administrator to find the correct address and to mail the
         distribution for such Class Member. These affidavits and the accompanying
         information shall be considered “Confidential” under the terms of the
         Confidentiality Order.

   6.8   The Settling Parties acknowledge that any payments to Class Members or their
         attorneys may be subject to applicable tax laws. Defendant, Defense Counsel,
         Class Counsel, and Class Representative will provide no tax advice to the Class
         Members and make no representation regarding the tax consequences of any of
         the settlement payments described in this Settlement Agreement. To the extent
         that any portion of any settlement payment is subject to income or other tax, the
         recipient of the payment shall be responsible for payment of such tax. Deductions
         will be made, and reporting will be performed by the Settlement Administrator, as




                                                  17
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 19 of 65 PageID# 1629




         required by law in respect of all payments made under the Settlement Agreement.
         Payments from the Qualified Settlement Fund shall not be treated as wages by the
         Parties.

   6.9   Each Class Member who receives a payment under this Settlement Agreement
         shall be fully and ultimately responsible for payment of any and all federal, state,
         or local taxes resulting from or attributable to the payment received by such
         person. Each Class Member shall hold the Released Parties, Defense Counsel,
         Class Counsel, and the Settlement Administrator harmless from any tax liability,
         including penalties and interest, related in any way to payments under the
         Settlement Agreement, and shall hold the Released Parties, Defense Counsel,
         Class Counsel, and the Settlement Administrator harmless from the costs
         (including, for example, attorneys’ fees and disbursements) of any proceedings
         (including, for example, investigation and suit), related to such tax liability.

   7.    Article 7 – Attorneys’ Fees and Costs

   7.1   Class Counsel intends to seek an award of attorneys’ fees not to exceed $396,000
         (three hundred ninety-six thousand dollars) and litigation costs and expenses
         advanced and carried by Class Counsel for the duration of this litigation, not to
         exceed $80,000 (eighty thousand dollars), both of which shall be paid (if at all)
         only from the Gross Settlement Amount.

   7.2   Class Counsel also intends to seek Class Representative’s Compensation, in an
         amount not to exceed $5,000 (five thousand dollars), which shall be paid from the
         Gross Settlement Amount.

   7.3   Class Counsel will file a motion for Final Approval of Settlement and for awards
         of Attorneys’ Fees and Costs and Class Representative’s Compnesation at least
         forty-five (45) calendar days before the Fairness Hearing, which may be
         supplemented thereafter.

   8.    Article 8 – Release and Covenant Not to Sue

   8.1   As of the Settlement Effective Date, the Plan (subject to Independent Fiduciary
         approval as required by Paragraph 3.1) the Class Representative and the Class
         Members (and their respective heirs, beneficiaries, executors, administrators,
         estates, successors, assigns, agents, and attorneys), on their own behalves and on
         behalf of the Plan, shall be deemed to have fully, finally, and forever settled,
         released, relinquished, waived, and discharged all Released Settling Parties from
         the Released Claims whether or not such Class Members have filed an objection
         to the Settlement or to any application by Class Counsel for an award of
         Attorneys’ Fees and Costs.




                                                  18
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 20 of 65 PageID# 1630




   8.2   As of the Settlement Effective Date, the Class Representative, the Class Members,
         Defendant, and the Plan (subject to Independent Fiduciary approval as required by
         Paragraph 3.1), expressly agree that they, acting individually or together, or in
         combination with others, shall not sue or seek to institute, maintain, prosecute,
         argue, or assert in any action or proceeding (including but not limited to an IRS
         determination letter proceeding, a Department of Labor proceeding, an arbitration
         or a proceeding before any state insurance or other department or commission),
         any cause of action, demand, or claim on the basis of, connected with, or arising
         out of any of the Released Claims. Nothing herein shall preclude any action to
         enforce the terms of the Settlement Agreement in accordance with the procedures
         set forth in the Settlement Agreement.

   8.3   Class Counsel, the Class Representative, Class Members, or the Plan, may
         hereafter discover facts in addition to or different from those that they know or
         believe to be true with respect to the Released Claims. Such facts, if known by
         them, might have affected the decision to settle with the Released Settling Parties
         and the Plan, or the decision to release, relinquish, waive, and discharge the
         Released Claims, or the decision of a Class Member not to object to the
         Settlement. Notwithstanding the foregoing, the Class Representative, Class
         Member and the Plan shall expressly, upon the entry of the Final Order, be
         deemed to have, and, by operation of the Final Order, shall have fully, finally, and
         forever settled, released, relinquished, waived, and discharged any and all
         Released Claims. The Class Representative, Class Members, and the Plan
         acknowledge and shall be deemed by operation of the Final Order to have
         acknowledged that the foregoing waiver was bargained for separately and is a key
         element of the Settlement embodied in the Settlement Agreement of which this
         release is a part.

   8.4   Class Representative, Class Members, and the Plan hereby stipulate and agree
         with respect to any and all Released Claims that, upon entry of the Final Order,
         each of them shall be conclusively deemed to, and by operation of the Final Order
         shall, settle, release, relinquish, waive and discharge any and all rights or benefits
         they may now have, or in the future may have, under any law relating to the
         releases of unknown claims, including but not limited to Section 1542 of the
         California Civil Code, which provides:

                A general release does not extend to claims which the creditor does
                not know or suspect to exist in his favor at the time of executing
                the release, which if known by him must have materially affected
                his settlement with the debtor.

   8.5   Also, the Class Representative and Class Members, shall upon entry of the Final
         Order with respect to the Released Claims, waive any and all provisions, rights
         and benefits conferred by any law or of any State or territory within the United




                                                  19
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 21 of 65 PageID# 1631




         States or any foreign country, or any principle of common law, which is similar,
         comparable or equivalent in substance to Section 1542 of the California Civil
         Code.

   8.6   Class Representative, Class Members, Defendant, and the Plan shall hold the
         Released Settling Parties, Defense Counsel, Class Counsel, and the Settlement
         Administrator harmless from the costs (including, for example, attorneys’ fees
         and disbursements) of any proceedings (including, for example, investigation and
         suit), related to any tax liability.

   9.    Article 9 – Representations and Warranties

   9.1   The Settling Parties represent:

         9.1.1    That they are voluntarily entering into the Settlement Agreement as a
                  result of arm’s length negotiations among their counsel, and that in
                  executing the Settlement Agreement they are relying solely upon their
                  own judgment, belief, and knowledge, and upon the advice and
                  recommendations of their own independently selected counsel,
                  concerning the nature, extent, and duration of their rights and claims
                  hereunder and regarding all matters that relate in any way to the subject
                  matter hereof;

         9.1.2    That they assume the risk of mistake as to facts or law;

         9.1.3    That they recognize that additional evidence may have come to light, but
                  that they nevertheless desire to avoid the expense and uncertainty of
                  litigation by entering into the Settlement;

         9.1.4    That they have read carefully the contents of the Settlement Agreement,
                  and the Settlement Agreement is signed freely by each individual
                  executing the Settlement Agreement on behalf of each of the Settling
                  Parties; and

         9.1.5    That they have made such investigation of the facts pertaining to the
                  Settlement and all matters pertaining thereto, as they deem necessary.

   9.2   Each individual executing the Settlement Agreement on behalf of a Settling Party
         does hereby personally represent and warrant to the other Settling Parties that
         he/she has the authority to execute the Settlement Agreement on behalf of, and
         fully bind, each principal that each such individual represents or purports to
         represent.




                                                 20
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 22 of 65 PageID# 1632




   10.    Article 10 – Additional Terms

   10.1   No Settling Party or their counsel will issue a press release or other statement to
          the media, including on social media, regarding the Class Action or the Settlement
          Agreement.

   11.    Article 11 – Termination, Conditions of Settlement, and Effect of
          Disapproval, Cancellation, or Termination

   11.1   The Settlement Agreement shall automatically terminate, and thereby become null
          and void with no further force or effect if:

          11.1.1   Under Paragraph 3.1, (1) either the Independent Fiduciary does not
                   approve the Settlement Agreement, or disapproves the Settlement
                   Agreement for any reason whatsoever or Serco reasonably concludes
                   that the Independent Fiduciary’s approval does not include the
                   determinations required by PTE 2003-39; and (2) the Settling Parties do
                   not mutually agree to modify the terms of the Settlement Agreement to
                   facilitate an approval by the Independent Fiduciary or the Independent
                   Fiduciary’s determinations required by PTE 2003-39;

          11.1.2   The Preliminary Order or the Final Order are not entered by the Court
                   substantially in the form submitted by the Settling Parties or in a form
                   which is otherwise agreed to by the Settling Parties;

          11.1.3   The Court modifies any material term of the final Settlement Agreement,
                   unless such modifications are agreed to in writing by Class Counsel and
                   Defendant. Material terms for the purposes of this section are any terms
                   contained in the November 12, 2020 Memorandum of Understanding
                   between the Settling Parties, as well as all terms found in Article 8
                   (Release and Covenant Not to Sue) of this Settlement Agreement.

          11.1.4   The Settlement Agreement is disapproved by the Court or fails to
                   become effective for any reason whatsoever; or

          11.1.5   The Preliminary Order or Final Order is finally reversed on appeal, or is
                   materially modified on appeal, and the Settling Parties do not mutually
                   agree to any such modifications. Material terms for the purposes of this
                   section are any terms contained in the November 12, 2020 Memorandum
                   of Understanding between the Settling Parties, as well as all terms found
                   in Article 8 (Release and Covenant Not to Sue) of this Settlement
                   Agreement.

   11.2   If the Settlement Agreement is terminated, deemed null and void, or has no
          further force or effect, the Class Action and the Released Claims asserted by Class




                                                  21
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 23 of 65 PageID# 1633




          Representatives shall for all purposes with respect to the Settling Parties revert to
          their status immediately prior to the Parties November 12, 2020 Memorandum of
          Understanding, as though the Settling Parties never executed the Memorandum of
          Understanding or the Settlement Agreement. All funds deposited in the Qualified
          Settlement Fund, and any interest earned thereon, except for any amounts already
          distributed to the Claims Administrator for Notice expenses at the time of the
          termination, shall be returned to Serco within thirty (30) calendar days after the
          Settlement Agreement is finally terminated or deemed null and void, except as
          provided for in Paragraph 11.4.

   11.3   It shall not be deemed a failure to approve the Settlement Agreement if the Court
          denies, in whole or in part, Class Counsel’s request for Attorneys’ Fees and Costs,
          Class Representative’s Compensation, and/or modifies any of the proposed orders
          insofar as they relate to Attorneys’ Fees and Costs and/or the Class
          Representative’s Compensation.

   11.4   In the event that the Settlement Agreement is terminated, Administrative
          Expenses incurred prior to the termination shall be paid first from the interest
          earned, if any, on the Qualified Settlement Fund. Administrative Expenses in
          excess of the interest earned on the Qualified Settlement Fund shall be split
          evenly and paid by Class Counsel, on the one hand, and the Defendant, on the
          other hand.

   12.    Article 12 – Confidentiality of Settlement Negotiations

   12.1   Except as set forth explicitly below, the Settling Parties and Class Counsel agree
          to keep confidential all statements, positions, and offers made during settlement
          negotiations relating to the Class Action and the Settlement Agreement.
          Accordingly, neither the negotiations, nor any agreement between the Settling
          Parties (including November 12, 2020 Memorandum of Understanding) may be
          disclosed, except: (i) insofar as may be necessary to obtain court approval of the
          Settlement; (ii) to management employees of Defendant and other employees of
          Defendant as necessary to implement the Settlement, service providers to the Plan
          as necessary to implement the Settlement, and to Defendant’s affiliates provided
          they agree to maintain confidentiality; (iii) to any insurer of Defendant that will
          be paying any part of the Gross Settlement Amount; (iv) as may be necessary for
          Defendant to meet any federal, state or local reporting obligations; (v) to enforce
          its terms; (vi) to Class Members, the Independent Fiduciary, and the Settling
          Parties’ tax, legal, and regulatory advisors, or insurers, or (vii) as otherwise
          required by law. Provided however, that any such person or entity to whom
          information is disclosed must promise in writing: (a) that such information shall
          not be further disclosed, and (b) to comply with this Article 12 in all other
          respects. The limitations in this paragraph will also apply to the Settlement
          Agreement, until such time at it is filed with the Court.




                                                   22
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 24 of 65 PageID# 1634




   12.2   Class Counsel will establish a Settlement Website on which it will post the
          following documents or links to the following documents on or following the date
          of the Preliminary Order: the operative Complaint; Settlement Agreement and its
          Exhibits; Settlement Notice; Class Representative’s Motions for Preliminary and
          Final Approval of the Settlement, Attorneys’ Fees and Costs and Award of
          Compensation to Class Representative, with any accompanying briefs and
          exhibits; any Court orders related to the Settlement; any amendments or revisions
          to these documents; and any other documents or information mutually agreed
          upon by the Settling Parties (“Settlement Website Information”). No other
          information or documents will be posted on the Settlement Website unless agreed
          to in advance by the Settling Parties in writing. Class Counsel will take down the
          Settlement Website ninety (90) calendar days after the Settlement Administrator
          certifies that distribution of the Qualified Settlement Fund is complete.

   12.3   Within thirty (30) calendar days of the filing of the motion for preliminary
          approval of the Settlement, Defendant may issue a communication to Plan
          participants and beneficiaires explaining the terms of the Settlement and Plan of
          Allocation. Defendant shall provide a draft of the communication to Class
          Counsel in advance of the dissemination of the communication.

   13.    Article 13 – General Provisions

   13.1   The Settling Parties, agree to cooperate fully with each other in seeking Court
          approvals of the Preliminary Order and the Final Order, and to do all things as
          may reasonably be required to effectuate preliminary and final approval and the
          implementation of the Settlement Agreement according to its terms. The Settling
          Parties agree to provide each other with copies of any filings necessary to
          effectuate this Settlement at least three (3) business days in advance of filing.

   13.2   Within sixty (60) calendar days of the Settlement Effective Date, the Settling
          Parties shall either return to the producing Settling Parties or destroy, all
          documents produced in discovery, including but not limited to documents
          produced under a claim of privilege or confidentiality. Each Settling Party shall
          serve a written notice to each producing party certifying that the Settling Party has
          carried out the obligations imposed by this Paragraph 13.2 but as limited by the
          Confidentiality Order. The Settling Parties agree that at all times they will honor
          the requirements of the Confidentiality Order, notwithstanding Settlement of the
          Class Action. After the Settlement Effective Date, Plaintiff’s Counsel agree that
          any documents retained as part of their legal files for this case pursuant to the
          Confidentiality Order shall not be accessed except to respond to formal inquiries
          about the Class Action made by or on behalf of Class Members.

   13.3   The Settlement Agreement, whether or not consummated, and any negotiations or
          proceedings hereunder are not, and shall not be construed as, deemed to be, or
          offered or received as evidence of an admission by or on the part of any Released



                                                   23
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 25 of 65 PageID# 1635




          Settling Party of any wrongdoing, fault, or liability whatsoever by any Released
          Settling Party, or give rise to any inference of any wrongdoing, fault, or liability
          or admission of any wrongdoing, fault, or liability in the Class Action or any other
          proceeding, and Defendant admits no wrongdoing, fault or liability with respect
          to any of the allegations or claims in the Class Action. The Settlement Agreement,
          whether or not consummated, and any negotiations or proceedings hereunder,
          shall not constitute admissions of any liability of any kind, whether legal or
          factual.

   13.4   Neither the Settling Parties, Class Counsel, nor Defense Counsel shall have any
          responsibility for or liability whatsoever with respect to: (i) any act, omission, or
          determination of the Settlement Administrator, or any of their respective
          designees or agents, in connection with the administration of the Gross Settlement
          Amount or otherwise; (ii) the determination of the Independent Fiduciary; (iii) the
          management, investment, or distribution of the Qualified Settlement Fund; (iv)
          the Plan of Allocation as approved by the Court; (v) the determination,
          administration, calculation, or payment of any claims asserted against the
          Qualified Settlement Fund; (vi) any losses suffered by, or fluctuations in the value
          of, the Qualified Settlement Fund; or (vii) the payment or withholding of any
          taxes, expenses, and/or costs incurred in connection with the taxation of the
          Qualified Settlement Fund or tax reporting, or the filing of any returns. Further,
          neither Defendant nor Defense Counsel shall have any responsibility for, or
          liability whatsoever with respect to, any act, omission, or determination of Class
          Counsel in connection with the administration of the Gross Settlement Amount or
          otherwise.

   13.5   Only Class Counsel shall have standing to seek enforcement of the Settlement
          Agreement on behalf of Plaintiff and Class Members. Any individual concerned
          about Defendant’s compliance with the Settlement Agreement may so notify
          Class Counsel and direct any requests for enforcement to Class Counsel. Class
          Counsel shall have the full and sole discretion to take whatever action they deem
          appropriate, or to refrain from taking any action, in response to such request. Any
          action by Class Counsel to monitor or enforce the Settlement Agreement shall be
          done without additional fee or reimbursement of expenses beyond the Attorneys’
          Fees and Costs determined by the Court.

   13.6   The Settlement Agreement shall be interpreted, construed, and enforced in
          accordance with applicable federal law and, to the extent that federal law does not
          govern, by Virginia law.

   13.7   The Settling Parties agree that the Court has personal jurisdiction over the
          Settlement Class and Defendant and shall maintain that jurisdiction for purposes
          of resolving any disputes between the Settling Parties concerning compliance with
          the Settlement Agreement that are not resolved under Paragraph 13.7. Any




                                                   24
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 26 of 65 PageID# 1636




          motion or action to enforce the Settlement Agreement—including by way of
          injunction—may be filed in the U.S. District Court for the Eastern District of
          Virginia, or asserted by way of an affirmative defense or counterclaim in response
          to any action asserting a violation of the Settlement Agreement.

   13.8   The Settlement Agreement may be executed by exchange of executed signature
          pages, and any signature transmitted by facsimile or e-mail attachment of scanned
          signature pages for the purpose of executing the Settlement Agreement shall be
          deemed an original signature for purposes of the Settlement Agreement. The
          Settlement Agreement may be executed in any number of counterparts, and each
          of such counterparts shall for all purposes be deemed an original, and all such
          counterparts shall together constitute the same instrument. The Settlement
          Agreement may be executed via an electronic signature using the Docusign
          service.

   13.9   Each Settling Party to the Settlement Agreement hereby acknowledges that he,
          she, or it has consulted with and obtained the advice of counsel prior to executing
          the Settlement Agreement and that the Settlement Agreement has been explained
          to that party by his, her, or its counsel.

   13.10 Any headings included in the Settlement Agreement are for convenience only and
         do not in any way limit, alter, or affect the matters contained in the Settlement
         Agreement or the Articles or Paragraphs they caption. References to a person are
         also to the person’s permitted successors and assigns, except as otherwise
         provided herein. Whenever the words “include,” “includes” or “including” are
         used in the Settlement Agreement, they shall not be limiting but shall be deemed
         to be followed by the words “without limitation.”

   13.11 Before entry of the Preliminary Approval Order and approval of the Independent
         Fiduciary, the Settlement Agreement may be modified or amended only by
         written agreement signed by or on behalf of all Settling Parties. Following
         approval by the Independent Fiduciary, the Settlement Agreement may be
         modified or amended only if such modification or amendment is set forth in a
         written agreement signed by or on behalf of all Settling Parties and only if the
         Independent Fiduciary approved such modification or amendment in writing.
         Following entry of the Preliminary Approval Order, the Settlement Agreement
         may be modified or amended only by written agreement signed on behalf of all
         Settling Parties, and only if the modification or amendment is approved by the
         Independent Fiduciary in writing and approved by the Court.

   13.12 The Settlement Agreement and the exhibits attached hereto constitute the entire
         agreement among the Settling Parties and no representations, warranties, or
         inducements have been made to any Settling Party concerning the Settlement
         other than those contained in the Settlement Agreement and the exhibits thereto.




                                                  25
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 27 of 65 PageID# 1637




   13.13 The provisions of the Settlement Agreement may be waived only by an
         instrument in writing executed by the waiving party and specifically waiving such
         provisions. The waiver of any breach of the Settlement Agreement by any Settling
         Party shall not be deemed to be or construed as a waiver of any other breach or
         waiver by any other Settling Party, whether prior, subsequent, or
         contemporaneous, of the Settlement Agreement.

   13.14 Each of the Settling Parties agrees, without further consideration, and as part of
         finalizing the Settlement hereunder, that it will in good faith execute and deliver
         such other documents and take such other actions as may be necessary to
         consummate and effectuate the subject matter of the Settlement Agreement.

   13.15 The provisions of the Settlement Agreement are not severable.

   13.16 All of the covenants, representations, and warranties, express or implied, oral or
         written, concerning the subject matter of the Settlement Agreement are contained
         in the Settlement Agreement. No Settling Party is relying on any oral
         representations or oral agreements. All such covenants, representations, and
         warranties set forth in the Settlement Agreement shall be deemed continuing and
         shall survive the Effective Date of Settlement.

   13.17 All of the exhibits attached hereto are incorporated by reference as though fully
         set forth herein. The exhibits shall be: Exhibit 1 – Preliminary Order; Exhibit 2 –
         Notice of Class Action Settlement and Fairness Hearing; Exhibit 3 – Postcard
         Notice Exhibit 4 – Final Order; Exhibit 5- Form of CAFA Notice.

   13.18 No provision of the Settlement Agreement or of the exhibits attached hereto shall
         be construed against or interpreted to the disadvantage of any Settling Party to the
         Settlement Agreement because that Settling Party is deemed to have prepared,
         structured, drafted, or requested the provision.

   13.19 Any notice, demand, or other communication under the Settlement Agreement
         (other than the Settlement Notice, or other notices given at the direction of the
         Court) shall be in writing and shall be deemed duly given upon receipt if it is
         addressed to each of the intended recipients as set forth below and personally
         delivered, sent by registered or certified mail postage prepaid, or delivered by
         reputable express overnight courier;

          IF TO THE CLASS REPRESENTATIVE

                  David Hilton Wise
                  John J. Drudi,
                  WISE LAW FIRM, PLC
                  10640 Page Avenue, Ste 320
                  Fairfax, Virginia 22030



                                                   26
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 28 of 65 PageID# 1638




               dwise@wiselaw.pro
               jdrudi@wiselaw.pro


         IF TO DEFENDANT:

               Ian Morrison (imorrison@seyfarth.com)
               Samuel Schwartz-Fenwick (sschwartz-fenwick@seyfarth.com)
               Jules A. Levenson (jlevenson@seyfarth.com)
               Rebecca K. Bryant (rbryant@seyfarth.com)
               Seyfarth Shaw, LLP
               233 S. Wacker Drive, Ste. 8000
               Chicago, IL 60606-6448
               Tel: (312) 460-5000
               Fax: (312) 460-7000




                                           27
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 29 of 65 PageID# 1639
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 30 of 65 PageID# 1640




   ON BEHALF OF PLAINTIFF Individually and as Class Representative:



   Dated: ______________________                 ______________________
                                                 Robert Glasscock
                                                 Plaintiff and Class Representative




   Dated: _           _________                  __________________________
                                                 David Hilton Wise
                                                 John J. Drudi
                                                 WISE LAW FIRM, PLC
                                                 10640 Page Avenue, Ste 320
                                                 Fairfax, Virginia 22030
                                                 T: (703) 934-6377/F: (703) 934-6379
                                                 dwise@wiselaw.pro
                                                 jdrudi@wiselaw.pro


   Dated:                                        ___________________________

                                                 Gregory Coleman
                                                 Arthur Stock
                                                 Ryan P. McMillan
                                                 GREG COLEMAN LAW PC
                                                 800 South Gay Street, Suite 1100
                                                 Knoxville, TN 37929
                                                 T: (865) 247-0080/F: (865) 522-0049
                                                 greg@gregcolemanlaw.com
                                                 arthur@gregcolemanlaw.com
                                                 ryan@gregcolemanlaw.com


   Dated:                                        _____________________________
                                                 Patrick M. Wallace
                                                 WHITFIELD BRYSON LLP
                                                 900 W. Morgan Street
                                                 Raleigh, North Carolina 27603
                                                 T: (919) 600-5000/F: (919) 600-5035
                                                 Scott@whitfieldbryson.com
                                                 Pat@whitfieldbryson.com




                                            28
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 31 of 65 PageID# 1641
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 32 of 65 PageID# 1642
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 33 of 65 PageID# 1643




   Dated:                                    ______________________________
                                             Charles Crueger
                                             Benjamin Kaplan
                                             CRUEGER DICKINSON LLC
                                             4532 North Oakland Avenue
                                             Whitefish Bay, WI 53211
                                             T: (414) 210-3868
                                             cjc@cruegerdickinson.com
                                             bak@cruegerdickinson.com


   Dated:                                    ___________________________
                                             Jordan Lewis
                                             JORDAN LEWIS, P.A.
                                             4473 N.E. 11th Avenue
                                             Fort Lauderdale, FL 33334
                                             T: (954) 616-8995/F : (954) 206-
                                             0374
                                             jordan@jml-lawfirm.com


   Dated:                                    ___________________________
                                             Edward A. Wallace
                                             Mark J. Tamblyn
                                             WEXLER WALLACE LLP
                                             55 West Monroe, Suite 3300
                                             Chicago, Illinois 60603
                                             T: (312) 346-2222/F: (312) 346-0022
                                             eaw@wexlerwallace.com
                                             mjt@wexlerwallace.com
                                             Attorneys for Plaintiff and Class
                                             Representative




                                        29
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 34 of 65 PageID# 1644
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 35 of 65 PageID# 1645




   Dated:                                    ______________________________
                                             Charles Crueger
                                             Benjamin Kaplan
                                             CRUEGER DICKINSON LLC
                                             4532 North Oakland Avenue
                                             Whitefish Bay, WI 53211
                                             T: (414) 210-3868
                                             cjc@cruegerdickinson.com
                                             bak@cruegerdickinson.com


   Dated:                                    ___________________________
                                             Jordan Lewis
                                             JORDAN LEWIS, P.A.
                                             4473 N.E. 11th Avenue
                                             Fort Lauderdale, FL 33334
                                             T: (954) 616-8995/F : (954) 206-
                                             0374
                                             jordan@jml-lawfirm.com


   Dated:                                    ___________________________
                                             Edward A. Wallace
                                             Mark J. Tamblyn
                                             WEXLER WALLACE LLP
                                             55 West Monroe, Suite 3300
                                             Chicago, Illinois 60603
                                             T: (312) 346-2222/F: (312) 346-0022
                                             eaw@wexlerwallace.com
                                             mjt@wexlerwallace.com
                                             Attorneys for Plaintiff and Class
                                             Representative




                                        29
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 36 of 65 PageID# 1646




   ON BEHALF OF DEFENDANT:

   Dated: 2/11/2021                          ______________________________
                                             Serco Inc. on behalf of its
                                             susbsidiaries, affiliates and its and
                                             their, officers and directors


   Dated:_______________________
          2/11/2021                          ______________________________
                                             Ian Morrison
                                             Samuel Schwartz-Fenwick
                                             Jules A. Levenson
                                             Rebecca K. Bryant
                                             Seyfarth Shaw, LLP
                                             233 S. Wacker Drive, Ste. 8000
                                             Chicago, IL 60606-6448
                                             Tel: (312) 460-5000
                                             Fax: (312) 460-7000
                                             imorrison@seyfarth.com
                                             sschwartz-fenwick@seyfarth.com
                                             jlevenson@seyfarth.com
                                             rbryant@seyfarth.com

                                             Attorneys for Defendant




                                        30
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 37 of 65 PageID# 1647




 Glasscock v. Serco, Inc. Settlement Agreement
                               Exhibit 1
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 38 of 65 PageID# 1648
                                IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                              Alexandria Division
ROBERT GLASSCOCK, individually, and as
representative of a Class of Participants and
Beneficiaries, on Behalf of the Serco Inc. 401(k)
Retirement Plan,                                   Civil Action No. 1:20-cv-00092-RDA-JFA
Plaintiff,

v.

SERCO, INC.,

Defendant.



                [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR
             PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT

        This litigation arose out of claims of alleged breaches of fiduciary duty in violation of the

Employee Retirement Income Security Act of 1974 (“ERISA”), asserted against Defendant Serco,

Inc. in connection with the 401(k) Plan (the ‘Plan”).

        Presented to the Court for preliminary approval is a settlement of the litigation against

Defendant. The terms of the Settlement are set out in a Class Action Settlement Agreement dated

____________ (the “Settlement Agreement” or “Settlement”), executed by Class Representative

Robert Glasscock, Class Counsel, and counsel for Defendant. Except as otherwise defined herein,

all capitalized terms used herein shall have the same meaning as ascribed to them in the Settlement

Agreement.

        Upon reviewing the Settlement Agreement and the motion papers submitted in connection

with the motion for preliminary approval, and good cause appearing therefore,




                                                  1
    Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 39 of 65 PageID# 1649




    It is hereby ORDERED as follows:

            1.     Preliminary Findings Regarding Proposed Settlement: The Court preliminarily

    finds that:

                   A.     The Settlement was negotiated at arm’s length, only after Class Counsel had

    received pertinent information and documents from Defendant;

                   B.     Class Counsel and the Class Representative have adequately represented the

    proposed class and have submitted declarations in support of the Settlement; and

                   C.     Considering the relevant Fourth Circuit factors, the Settlement is

    sufficiently fair, reasonable, and adequate to warrant sending notice of the Settlement to the

    Settlement Class.

            2.     Fairness Hearing: A hearing (the “Fairness Hearing”) will be held on [a date no

    sooner than one hundred twenty (120) calendar days after the date of the Preliminary Approval

    Order], 20    , at            .m., in Courtroom XXX of the Albert V. Bryan U.S. Courthouse,

    401 Courthouse Square, Alexandria, VA 22314, before the undersigned United States District

    Court Judge, to determine, among other issues:

                   A.     Whether the Court should approve the Settlement as fair, reasonable, and
                          adequate;

                   B.     Whether the Court should enter the Final Approval Order, and

                   C.     Whether the Court should approve any motion for Attorneys’ Fees and

                          Costs, Administrative Expenses, and Class Representative’s Compensation.

            3.     Settlement Administrator: The Court approves and orders that Angeion Group,

    L.L.C. shall be the Settlement Administrator responsible for carrying out the responsibilities set

    forth in the Settlement Agreement.




2                                                          2
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 40 of 65 PageID# 1650




         4.    Class Certification: The following Settlement Class is preliminarily certified for

settlement purposes pursuant to Fed. R. Civ. P. 23(b)(1):

               all persons who have been Participants, Beneficiaries or Alternate
               Payees of the Plan from January 1, 2014 through the date of this
               Preliminary Order, except for past and present members of
               Defendant’s 401(k) Committee from January 1, 2014 through the
               date of this Preliminary Order (“Class Period”).

The Court appoints Jordan Lewis, P.A., Crueger Dickinson LLC, Whitfield Bryson LLP, Greg

Coleman Law, Wexler Wallace LLP, and Wise Law Firm, PLC.as counsel for the Settlement

Class. Further, the Court appoints Robert Glasscock as Class Representative for the Settlement

Class.

         5.    Class Notice: The Settling Parties have presented to the Court proposed forms of

notice regarding the Settlement for distribution to Settlement Class Members (“Settlement

Notices”) and the proposed Former Participant Claim Form to Former Participants.

         A.           The Court finds that the Settlement Notice and Postcard Notice fairly

and adequately:

                      i.      Summarize the claims asserted;

                      ii.     Describe the terms and effect of the Settlement;

                      iii.    Notifies the Settlement Class that Class Counsel will seek

                              disbursements from the Qualified Settlement Fund for Attorneys’

                              Fees and Costs, Administrative Expenses, and Class

                              Representative’s Compensation;

                      iv.     Gives notice to the Settlement Class of the time and place of the

                              Fairness Hearing, and Class Members’ right to appear; and
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 41 of 65 PageID# 1651




                       v.       Describes how the recipients of the Class Notice may object to the

                               Settlement, or any requested Attorneys’ Fees and Costs,

                               Administrative Expenses, or Class Representative’s Compensation.

               B.      The Settlement Administrator shall send by email or first class mail the

appropriate Settlement Notice to each Class Member and the Former Participant Claim Form to

each Former Participant within thirty (30) calendar days of the date of this Order, as specified in

the Settlement Agreement, based on data provided by Serco and the Plan’s recordkeeper.

               C.      On or before the date that notice is sent to the Settlement Class, the

Settlement Administrator shall establish a Settlement Website and telephone support line as

provided by the Settlement Agreement.

               D.      Pursuant to Rules 23(c)(2) and (e) of the Federal Rules of Civil Procedure,

the contents of the Settlement Notices and plan for distribution of the Settlement Notices constitutes

appropriate notice, provides due and sufficient notice of the Fairness Hearing and of the rights of

all Class Members, and complies fully with the requirements of Federal Rule of Civil Procedure 23

and due process.

       7.      Preliminary Injunction: Each Class Member and their respective heirs,

beneficiaries, executors, administrators, estates, past and present partners, officers, directors,

agents, attorneys, predecessors, successors, and assigns, are preliminarily enjoined from suing

Defendant, the Plan, or the Released Parties in any action or proceeding alleging any of the

Released Claims. Pending final determination of whether the Settlement Agreement should be

approved, no Class Member may directly, through representatives, or in any other capacity,

commence any action or proceeding in any court or tribunal asserting any of the Released Claims

against the Defendants, the Released Parties, or the Plan.
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 42 of 65 PageID# 1652




       8.      Motion for Final Approval of Settlement and for Approval of Award of

Attorneys’ Costs, Fees, and Class Representative’s Compensation: Plaintiff shall file Motions

for Final Approval of The Settlement, and for award of Attorneys’ Fees, Attorneys’ costs, and

approval of Administrative Costs, and for Class Representative’s Compensation no later than

forty-five (45) calendar days before the scheduled Fairness Hearing.

       9.      Objections to Settlement: Any objections to the fairness, reasonableness or

adequacy of the Settlement, to any term of the Settlement Agreement, or to the proposed

Attorneys’ Fees and Costs, Administrative Expenses, or Class Representative’s Compensation,

shall be considered by the Court at the Fairness Hearing, if they have been timely filed with the

Clerk of the Court and sent to Class Counsel and Defendant’s Counsel. To be timely, the objection

and any supporting documents must be sent to Class Counsel and Defendant’s Counsel and filed

with the Clerk of Court at least thirty (30) calendar days prior to the scheduled Fairness Hearing.

       10.     Responses to Objections and Final Approval Motion: Any party may file a

response to an objection by a Class Member at least fourteen (14) calendar days before the Fairness

Hearing.

       11.     Continuance of Hearing: The Court may adjourn, modify, or continue the

Fairness Hearing without further direct notice to the Class Members, other than by notice to Class

Counsel. In such event, notice of the same shall be provided through the Settlement Website.
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 43 of 65 PageID# 1653




       12.     Confidentiality: All information provided to the Settlement Administrator in

connection with the administration of the settlement constitutes Confidential Information protected

from public disclosure by the Confidentiality Order.




       IT IS ORDERED on this ___ day of __________, 2021.



                                             HON. JOHN F. ANDERSON
                                             United States Magistrate Judge
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 44 of 65 PageID# 1654




 Glasscock v. Serco, Inc. Settlement Agreement
                               Exhibit 2
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 45 of 65 PageID# 1655




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION


ROBERT GLASSCOCK, individually, and
as representative of a Class of Participants
and Beneficiaries on Behalf of the Serco Inc.
401(k) Retirement Plan;
       Plaintiff,                                       Civil Action No. 1:20-cv-00092-RDA-JFA

        v.
SERCO INC.;
       Defendant.




        NOTICE OF CLASS ACTION SETTLEMENT AND FAIRNESS HEARING

   This is a notice of a proposed class action settlement in the above-referenced lawsuit.
       Your legal rights may be affected if you are a member of the following class:

To: All persons who have been Participants, Beneficiaries and Alternate Payees of the Serco Inc.
401(k) Plan (“Plan”) from January 1, 2014 through the date the Settlement Class is certified by the
Court, except for past and present members of Defendant’s 401(k) Committee from January 1,
2014 through [DATE OF PRELIMINARY ORDER].

                PLEASE READ THIS SETTLEMENT NOTICE CAREFULLY

   •    The Court has given its preliminary approval to a proposed settlement (the “Settlement”)
        of a class action lawsuit brought by certain Plan participants, alleging Serco Inc.
        (“Defendant”) violated the Employee Retirement Income Security Act of 1974, as
        amended (“ERISA”). Defendant denies all claims, and nothing in the Settlement is an
        admission or concession on Defendant’s part of any fault or liability whatsoever.

   •    The Settlement will provide, among other things, for a $1.2 million ($1,200,000.00) gross
        Qualified Settlement Fund that will be allocated to eligible Class Members after payment
        of any Court-approved deductions for Attorneys’ Fees and Costs, Administrative
        Expenses, and Class Representative Compensation. Class Members with one or more
        accounts with a positive balance (an “Active Account”) in the Plan during the Class Period
        (referred to herein as “Current Participants”) will automatically receive allocations directly
        to their 401(k) accounts so long as they maintain a positive balance through the time
        Settlement monies are distributed. As explained further under Question 4 below, Class
        Members who did not have an Active Account as of [DATE] (referred to herein as “Former
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 46 of 65 PageID# 1656




       Participants”) will receive payments (by check) if the Settlement Administrator determines
       that they are due $10 (ten dollars) or more. You may be subject to state and/or federal taxes
       on your settlement payments, including income taxes and payroll taxes, as well as other
       regular deductions. You are responsible for all taxes that may be due on your settlement
       payments and you should consult with your own accountants or other tax professionals to
       determine what, if any, taxes may be owed.

   •   The terms and conditions of the Settlement are set forth in the Settlement Agreement dated
       [DATE]. Capitalized terms used but not defined in this Settlement Notice have the
       meanings assigned to them in the Settlement Agreement. The Settlement Agreement is
       available at www.GlasscockLitigation.com. Certain other documents related to the case
       also will be posted on that website. You should visit that website if you would like more
       information about the Settlement or the lawsuit. All papers filed in this lawsuit are also
       available via the Public Access to Court Electronic Records System (PACER), at
       http://www.pacer.gov, and may also be reviewed in person, as allowed by the Court, during
       regular business hours at the Office of the Clerk of the United States District Court for the
       Eastern District of Virginia, 401 Courthouse Square, Alexandria, VA 22314.

   •   Your rights and the choices available to you — and the applicable deadlines to act — are
       explained in this Settlement Notice. Please note that neither Serco nor any employees or
       representatives of Serco may advise you as to what the best choice is for you or how you
       should proceed.

   •   The Court still has to decide whether to give its final approval to the Settlement. Payments
       under the Settlement will be made only if the Court approves the Settlement and that final
       approval is upheld in the event of any appeal.

   •   A Fairness Hearing will take place on [DATE], at [TIME] before the Honorable Rossie D.
       Alston at the Albert V. Bryan U.S. Courthouse, 401 Courthouse Square, Alexandria, VA
       22314, in Courtroom ____, to determine whether to grant final approval of the Settlement
       and approve the requested Attorneys’ Fees and Costs, Administrative Expenses, and Class
       Representative’s Compensation. The date and time of the Fairness Hearing are subject to
       change by Court Order, but any changes will be posted at www.GlasscockLitigation.com.
       If you intend to speak at the Fairness Hearing, you must mail a notice of intent to appear
       to Class Counsel, Defendants’ Counsel, and the Clerk of Court, at least 30 days before the
       Fairness Hearing.

   •   Any objections to the Settlement, or to the requested Attorneys’ Fees and Costs,
       Administrative Expenses, or Class Representative’s Compensation, along with any
       supporting documents, must be mailed to Class Counsel and Defendant’s Counsel, as
       identified under Question 11 of this Settlement Notice. Objections must also be sent to the
       Clerk of Court at the following address: 401 Courthouse Square, Alexandria, VA 22314.
       Any objection must be received at least 30 days before the Fairness Hearing.
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 47 of 65 PageID# 1657




              YOUR LEGAL RIGHTS AND OPTIONS UNDER THE SETTLEMENT:


                                  If you wish to object to any part of the Settlement, or to
   YOU CAN OBJECT                 the requested Attorneys’ Fees and Costs, Administrative
  (NO LATER THAN [30              Expenses, or Class Representative’s Compensation, you
  Days Before the Fairness        must mail an objection and any supporting documents to
        Hearing])                 Class Counsel and Defendant’s Counsel (as identified
                                  under Question 11 below), as well as the Clerk of Court.
                                  You may also attend the Fairness Hearing and speak at the
   YOU CAN ATTEND A               Fairness Hearing on [DATE]. You may attend the hearing
   HEARING ON [DATE]              without filing a notice of your intention to appear, but you
                                  will not be permitted to make an objection if you do not
                                  comply with the requirements for making objections. If
                                  you intend to speak at the Fairness Hearing, you must
                                  mail a notice of intent to appear to Class Counsel,
                                  Defendants’ Counsel, and the Clerk of Court, at least 30
                                  days before the Fairness Hearing.


The Class Action
The case is called Glasscock v. Serco Inc., Case No. 1:20-cv-00092-RDA-JFA (E.D. Va.) (the
“Class Action” or “lawsuit”). It has been pending since January 28, 2020. The Court supervising
the case is the United States District Court for the Eastern District of Virginia. The Plaintiff (the
individual who brought this lawsuit) is called the Class Representative, and the entity he sued is
called Defendant. The Class Representative, Robert Glasscock, is a former Plan participant. The
Defendant is Serco Inc. The Class Representative’s claims are described below, and additional
information about those claims is available at www.GlasscockLitigation.com.

Statement of Attorneys’ Fees and Costs, Administrative Expenses, and Class
Representative’s Compensation Sought in the Class Action
Class Counsel has devoted many hours to investigating the facts, prosecuting the lawsuit,
reviewing documents obtained from Defendant and third parties, and negotiating the Settlement.
They also have advanced all costs necessary to pursue the case, and have not been paid for any of
their time while this case has been pending.

Class Counsel will apply to the Court for payment of Attorneys’ Fees for their work in the case.
The amount of fees that Class Counsel will request will not exceed 33% of the Qualified Settlement
Fund ($396,000.00 (three hundred ninety-six thousand dollars)). In addition, Class Counsel will
also seek to recover their costs and the administrative expenses associated with the settlement, up
to $80,000 (eighty thousand dollars). Any Attorneys’ Fees and Costs and Administrative Expenses
awarded by the Court will be paid from the Qualified Settlement Fund.

Class Counsel also will ask the Court to approve payments, not to exceed $5,000 (five thousand
dollars), for the Class Representative who took on the risk of litigation and committed to spend
the time necessary to bring the case to conclusion. Any Class Representative Compensation
awarded by the Court also will be paid from the Qualified Settlement Fund.
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 48 of 65 PageID# 1658




A full and formal application for Attorneys’ Fees and Costs, Administrative Expenses, and Class
Representative’s Compensation will be filed with the Court on or before [DATE]. This application
will be made available at www.GlasscockLitigation.com. You may also obtain a copy of this
application through the Public Access to Court Electronic Records System (PACER) at
http://www.pacer.gov.

1. Why Did I Receive This Settlement Notice?

The Court caused this Settlement Notice to be sent to you because our records indicate that you
may be a Class Member. If you fall within the definition of the Class, you have a right to know
about the Settlement and about the options available to you before the Court decides whether to
give its final approval to the Settlement. If the Court approves the Settlement, and after any
objections and appeals are resolved, the Net Settlement Amount will be allocated among Class
Members according to a Court-approved Plan of Allocation.

2. What Is The Class Action About?

In the Class Action, the Class Representative claims that Serco Inc., breached its fiduciary duties
to the Plan and Plan participants, by failing to adequately monitor and control the expenses paid
by the Plan. The Class Representative further claims that Plan participants suffered losses as a
result of these alleged breaches of fiduciary duty.

Defendant denies all claims and asserts that it has always acted prudently and in the best interests
of participants and beneficiaries.

3. Why Is There A Settlement?

The Court has not reached a final decision as to the Class Representative’s claims. Instead, the
Class Representative and Defendant have agreed to the Settlement. The Settlement is the product
of extensive negotiations between the Class Representatives, Defendant, and their counsel. The
parties to the Settlement have taken into account the uncertainty and risks of litigation and have
concluded that it is desirable to settle on the terms and conditions set forth in the Settlement
Agreement. The Class Representative and Class Counsel believe that the Settlement is best for all
Class Members. Nothing in the Settlement Agreement is an admission or concession on
Defendant’s part of any fault or liability whatsoever. The Settlement has been entered into to avoid
the uncertainty, expense, and burden of additional litigation.

4. What Does The Settlement Provide?

Under the Settlement, Serco will pay a total of $1,200,000 (one million two-hundred thousand
dollars) into a Qualified Settlement Fund to resolve the claims of the Class. The Net Settlement
Amount (after deduction of any Court approved Attorneys’ Fees and Costs, Administrative
Expenses, and Class Representative’s Compensation) will be allocated to Class Members
according to a Plan of Allocation to be approved by the Court (as explained further under Question
5 below). Allocations to Current Participants who are entitled to a distribution under the Plan of
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 49 of 65 PageID# 1659




Allocation will be made into their existing accounts in the Plans. Former Participants who are
entitled to a distribution of $10 (ten dollars) or more will receive their payment as a check. If the
Settlement Administrator determines that a Former Participant (other than the Class
Representative) is not entitled to a distribution of at least $10 (ten dollars), that Former Participant
shall receive no payment. Any funds that are not distributed because of this minimum threshold
will be reallocated to other Class Members under the Plan of Allocation.

All Class Members, and their Beneficiaries/Alternate Payees, will fully release the Released
Parties from Released Claims. The Released Parties include (1) Defendant; (2) Defendant’s
affiliates, members, shareholders, directors, officers, employees, attorneys, partners, insurers,
predecessors, successors, and any person or agent acting on their behalf; (3) the Plan and any and
all administrators, fiduciaries, parties in interest, service providers, and trustees of the Plan.
Generally, the release means that Class Members will not have the right to sue the Released Parties
for conduct during the Class Period arising out of or relating to the allegations in the lawsuit or the
Plan. The entire release language is set forth in the Settlement Agreement, which is available at
www.GlasscockLitigation.com.


5. How Much Will My Distribution Be?

The amount, if any, that will be allocated to you will be based upon records maintained by the
Plan’s recordkeeper. Calculations regarding the individual distributions will be performed by the
Settlement Administrator, whose determinations will be final and binding, pursuant to the Court
approved Plan of Allocation. There are approximately 30,000 Class Members.

To receive a distribution from the Net Settlement Amount, you must either be a (1) “Current
Participant,” (2) a “Former Participant,” or (3) a Beneficiary or Alternate Payee of a person
identified in (1) or (2).

The Net Settlement Amount will be divided pro rata among Class Members based on each eligible
Class Member’s quarterly Balance invested in the Plan during the Class Period. For purposes of
making this determination, the Balance shall be calculated based on the quarter-ending account
balance for each Authorized Former Participant and Current Participant for each quarter during
the Class Period.

If you are an Alternate Payee pursuant to a Qualified Domestic Relations Order, your
portion of the Settlement will be distributed pursuant to the terms of that order.

The Net Settlement Amount will also depend on the amount of any Attorneys’ Fees and Costs,
Administrative Expenses, and Class Representative’s Compensation that are awarded by the Court,
as these will be paid out of the Gross Settlement Amount of $1,200,000 (one million two-hundred
thousand dollars). Class Counsel will file a motion for an award of Attorneys’ Fees and Costs,
Administrative Expenses, and Class Representative’s Compensation at least 30 days prior to the
objection deadline. This motion will be considered at the Fairness Hearing. Class Counsel will
limit their application for Attorneys’ Fees to not more than thirty-three percent (33%) of the Gross
Settlement Amount. Class Counsel also will seek to recover all actual and anticipated litigation
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 50 of 65 PageID# 1660




costs and administrative expenses associated with the Settlement, up to $80,000 (eighty thousand
dollars). In addition, Class Counsel will seek compensation for the Class Representative of no
more than $5,000 (five thousand dollars). The Court will determine the amount of Attorneys’ Fees
and Costs, Administrative Expenses, and Class Representative’s Compensation that will be
awarded, if any. All papers filed in this action, including Class Counsel’s motion for Attorneys’
Fees and Costs, Administrative Expenses, and Class Representative’s Compensation, will be
available for review via the Public Access to Court Electronic Records System (PACER), available
online at http://www.pacer.gov.

6. How Can I Receive My Distribution?

Payments will be distributed automatically, to your 401(k) account if you are a Current
Participant, and by check if you are a Former Participant entitled to $10 (ten dollars) or
more. You do not need to take any action.

7. When Will I Receive My Distribution?

The timing of the distribution of the Net Settlement Amount depends on several matters, including
the Court’s final approval of the Settlement and any approval becoming final and no longer subject
to any appeals in any court. An appeal of the final approval order may take several years. If the
Settlement is approved by the Court, and there are no appeals, the Settlement distribution likely
will occur within six months of the Court’s Final Approval Order.

There will be no payments under the Settlement if the Settlement Agreement is terminated.

8. Can I Get Out Of The Settlement?

No. The Class has been certified for settlement purposes under Federal Rule of Civil Procedure
23(b)(1). Therefore, as a Class Member, you are bound by the Settlement (if it receives final Court
approval) and any judgments or orders that are entered in the Class Action. If you wish to object
to any part of the Settlement, you may write to counsel about why you object to the Settlement, as
discussed below.

9. Do I Have a Lawyer in the Case?

The Court has appointed the following law firms as Class Counsel in the Class Action:


Gregory Coleman
Arthur Stock
Ryan P. McMillan
GREG COLEMAN LAW PC
800 South Gay Street, Suite 1100
Knoxville, TN 37929
T: (865) 247-0080/F: (865) 522-0049
greg@gregcolemanlaw.com
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 51 of 65 PageID# 1661




arthur@gregcolemanlaw.com
ryan@gregcolemanlaw.com

Charles Crueger
Benjamin Kaplan
CRUEGER DICKINSON LLC
4532 North Oakland Avenue
Whitefish Bay, WI 53211
T: (414) 210-3868
cjc@cruegerdickinson.com
bak@cruegerdickinson.com

Jordan Lewis
JORDAN LEWIS, P.A.
4473 N.E. 11th Avenue
Fort Lauderdale, FL 33334
T: (954) 616-8995/F : (954) 206-0374
jordan@jml-lawfirm.com

Edward A. Wallace
Mark J. Tamblyn
WEXLER WALLACE LLP
55 West Monroe, Suite 3300
Chicago, Illinois 60603
T: (312) 346-2222/F: (312) 346-0022
eaw@wexlerwallace.com
mjt@wexlerwallace.com

David Hilton Wise
John J. Drudi
WISE LAW FIRM, PLC
10640 Page Avenue, Ste 320
Fairfax, Virginia 22030
T: (703) 934-6377/F: (703) 934-6379
dwise@wiselaw.pro
jdrudi@wiselaw.pro

Patrick M. Wallace
WHITFIELD BRYSON LLP
900 W. Morgan Street
Raleigh, North Carolina 27603
T: (919) 600-5000/F: (919) 600-5035
Scott@whitfieldbryson.com
Pat@whitfieldbryson.com

 If you want to be represented by your own lawyer, you may hire one at your own expense.
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 52 of 65 PageID# 1662




10. How Will The Lawyers Be Paid?

Class Counsel will file a motion for an award of Attorneys’ Fees and Costs, Administrative
Expenses, and Class Representative’s Compensation at least 30 days prior to the objection
deadline. This motion will be made available at www.GlasscockLitigation.com and be considered
at the Fairness Hearing. Class Counsel will limit their application for Attorneys’ Fees to not more
than one-third of the Gross Settlement Amount. Class Counsel also will seek to recover all actual
and anticipated litigation costs and Administrative Expenses associated with the Settlement. In
addition, Class Counsel will seek compensation for the Class Representative of no more than
$5,000 (five thousand dollars). The Court will determine the amount of fees, costs, administrative
expenses, and Class Representative’s compensation that will be awarded, if any. All papers filed
in this action, including Class Counsel’s motion for Attorneys’ Fees and Costs, Administrative
Expenses, and Class Representative’s Compensation, will be available via the Public Access to
Court Electronic Records System (PACER), available online at http://www.pacer.gov.

11. How Do I Tell The Court If I Don’t Like The Settlement?

If you are a Class Member, you can object to the Settlement by mailing a written objection and
any supporting documents to Class Counsel and to Defendant’s Counsel at the addresses below.
Class Counsel will respond to your objection in their motion for final approval of the Settlement.
You must also mail a copy of all objection documents to the Clerk of Court, at the following
address: 401 Courthouse Square, Alexandria, VA 22314.

Your written objection must be mailed no later than [DATE] to be considered.

 CLASS COUNSEL                                    DEFENDANT’S COUNSEL
 David Hilton Wise                                Ian Morrison
 John J. Drudi                                    Samuel Schwartz-Fenwick
 WISE LAW FIRM, PLC                               Jules A. Levenson
 10640 Page Avenue, Ste 320                       Rebecca K. Bryant
 Fairfax, Virginia 22030                          Seyfarth Shaw, LLP
 T: (703) 934-6377/F: (703) 934-6379              233 S. Wacker Drive, Ste. 8000
 dwise@wiselaw.pro                                Chicago, IL 60606-6448
 jdrudi@wiselaw.pro                               Tel: (312) 460-5000
                                                  Fax: (312) 460-7000
                                                  imorrison@seyfarth.com
                                                  sschwartz-fenwick@seyfarth.com
                                                  jlevenson@seyfarth.com
                                                  rbryant@seyfarth.com


12. When And Where Will The Court Decide Whether To Approve The Settlement?

The Court will hold a Fairness Hearing at [TIME] on [DATE] at the Albert V. Bryan U.S.
Courthouse, 401 Courthouse Square, Alexandria, VA 22314, in Courtroom XXX. At the Fairness
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 53 of 65 PageID# 1663




Hearing, the Court will consider whether the Settlement is fair, reasonable, and adequate. The
Court also will consider the motion for Attorneys’ Fees and Costs, Administrative Expenses, and
Class Representative’s Compensation. If there are objections, the Court will consider them then.
The date and time of the Fairness Hearing are subject to change by Court Order, but any changes
will be posted at www.GlasscockLitigation.com.

13. Do I Have To Attend The Fairness Hearing?

No, but you are welcome to come at your own expense. You may also make an appearance through
an attorney. If you send an objection, you do not have to come to the Court to talk about it. As
long as you filed your written objection on time, the Court will consider it.

14. May I Speak At The Fairness Hearing?

Yes. Any person wishing to speak at the Fairness Hearing shall file and serve a notice of intent to
appear within the time limitation set forth above for objecting. You must also comply with the
requirements for making an objection (set forth above) if you wish to object.

15. What Happens If I Do Nothing At All?

If you do nothing at all, and all conditions of the Settlement are met, you will receive your share
of the Settlement as deposit into your account if you are a Current Participant, or as a check if you
are a Former Participant entitled to $10 (ten dollars) or more. You will be bound by the Settlement
of the Class Action as described above in this Settlement Notice if the Settlement is finally
approved, whether or not you not receive any money.

16. How Do I Get More Information?

If you have questions regarding the Settlement, you can visit www.GlasscockLitigation.com , call
[phone number], or write to the Settlement Administrator at [mailing address]. All papers filed in
this lawsuit are also available via the Public Access to Court Electronic Records System (PACER),
at http://www.pacer.gov, and may be reviewed in person, as allowed by the Court, during regular
business hours at the Office of the Clerk of the United States District Court for the Eastern District
of Virginia, 401 Courthouse Square, Alexandria, VA 22314.
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 54 of 65 PageID# 1664




 Glasscock v. Serco, Inc. Settlement Agreement
                               Exhibit 3
e 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 55 of 65 PageID# 1
        If You were a                          Serco Inc. 401(k) Settlement
      Participant in the                       c/o Class Action Administrator
                                               1650 Arch Street Suite 2210
      Serco Inc. 401(k)                        Philadelphia, PA 19103
   Retirement Plan since
    2014, You Could Be
   Eligible for a Payment
    from a Class Action
         Settlement.                            «ScanString»
   A federal court authorized this notice.
                                                Postal Service: Please do not mark barcode
   This is not a solicitation from a lawyer.

   For more information on the proposed
                                                Claim#: «ID______»
   settlement and your rights, visit            «FirstName» «LastName»
   www.GlasscockLitigation.com, or contact
   the Settlement Administrator or Class
                                                «Address1»
   Counsel.                                     «Address2»
   Do not contact the Court or the              «City», «StateCd» «Zip»
   Defendant for information about the          «CountryCd»
   settlement.
e 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 56 of 65 PageID# 1
                                            NOTICE OF PROPOSED CLASS ACTION SETTLEMENT
 A proposed settlement has been reached in a class action lawsuit about management of the Serco Inc. 401(k) Retirement Plan. Glasscock v.
 Serco, Inc.., E.D. Va. No. 1:20-cv-00092-RDA-JFA. This notice summarizes your legal rights. You should visit www.GlasscockLitigation.com to
 obtain more complete information about the proposed settlement and your rights. You also can write to the Settlement Administrator at Serco Inc.
 401(k) Retirement Plan Settlement, 1650 Arch Street, Suite 2210, Philadelphia, PA 19103, e-mail Info@GlassscockLitigation.com, or call 1-XXX-
 XXX-XXXX.
 What is the class action about? Plaintiff claims that Defendant failed to prudently manage the Serco Inc. 401(k) Retirement Plan and monitor
 excessive fees to the Plan. Plaintiff alleges that, as a result of these failures, Defendant harmed the Plan and its participants. Defendant denies
 Plaintiff’s claims and contends that the Plan has been managed, operated and administered at all relevant times in compliance with ERISA and
 applicable regulations.
 A Settlement of $1,200,000 (one million two-hundred thousand dollars) has been reached. This Settlement Fund shall be used to pay the attorney’
 fees up to $396,000), attorneys’ costs, costs of Settlement Administration, and compensation to the class representative, if approved by the Court.
 The remainder shall be distributed among all Class Members in proportion to the amounts in the 401K accounts of current 401(k) Plan participants,
 and distributed by check to former Plan Participants entitled to $10 (ten dollars) or more. You need not take any action to receive your share of
 the Settlement.
 What are my rights? The settlement class includes all persons who were participants, beneficiaries, or alternate payees of the Serco Inc. 401(k)
 Retirement Plan between January 28, 2014 and [DATE OF PRELIMINARY ORDER]. You can visit www.GlasscockLitigation.com to see more
 information. Defendant’s records show that you may be a member of the settlement class.
 How to make objections. You can comment on or object to the proposed settlement or Class Counsel’s fees by mailing a written objection to
 the Court, Plaintiff’s Counsel, and the Claims Administrator at the addresses provided in the Settlement Notice available at
 www.GlasscockLitigation.com]. Objections must be mailed to the Court and postmarked no later than Month, Day 2021, and entries of
 appearance postmarked by Month, Day, 2021.
 The Fairness Hearing: The fairness hearing will be held at the Court on Month, Day, 2021, at XX:00 a.m. EST. You or your attorney (if you
 choose to hire one) may appear at the hearing by mailing a notice and entry of appearance to the Court.
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 57 of 65 PageID# 1667




 Glasscock v. Serco, Inc. Settlement Agreement
                               Exhibit 4
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 58 of 65 PageID# 1668




                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division

ROBERT GLASSCOCK, individually, and as
representative of a Class of Participants and
Beneficiaries, on Behalf of the Serco Inc. 401(k)
Retirement Plan,                                  Civil Action No. 1:20-cv-00092-RDA-JFA
       Plaintiff,

v.

SERCO, INC.,

       Defendant.


               [PROPOSED] ORDER OF FINAL APPROVAL OF CLASS ACTION
                                SETTLEMENT


       Wherefore, this     day of     , 2021 upon consideration of Plaintiff’s Motion for Final

Approval of the Class Action Settlement Agreement dated ______ (herein the “Settlement

Agreement” or “Settlement”) in the above matter, the Court hereby orders:

       1.      For purposes of this Final Approval Order and Judgment, except as otherwise

               defined herein, all capitalized terms used herein shall have the same meaning as

               ascribed to them in the Settlement Agreement.

       2.      The Court has subject matter jurisdiction over the action and retains jurisdiction for

purposes of enforcing and interpreting the Settlement Agreement.

       3.      The following Settlement Class is certified under Rule 23(b)(1) of the Federal Rules

of Civil Procedure for purposes of the Settlement:

               all persons who have been Participants, Beneficiaries or Alternate
               Payees of the Plan from January 1, 2014 through the date of the
               Preliminary Order, except for past and present members of
               Defendant’s 401(k) Committee from January 1, 2014 through the
               date of the Preliminary Order (“Class Period”).
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 59 of 65 PageID# 1669




       The Court finds that this Settlement Class meets all of the requirements of Rule 23(a) and

23(b)(1).

       4.      Pursuant to Rules 23(e)(1)(A) and (C), the Court hereby approves and confirms the

Settlement and the terms therein as being fair, reasonable, and adequate to the Plan and the Class

Members.

       5.      The Court hereby approves the Settlement and orders that the Settling Parties take

all necessary steps to effectuate the terms of the Settlement Agreement.

       6.      In accordance with the Court’s Orders, and as reflected in the information from the

Settlement Administrator (Angeion Group), Settlement Notices were timely distributed by email

or first-class mail to all Class Members who could be identified with reasonable effort. The

Settlement Administrator searched for updated address information for those returned as

undeliverable, and re-sent notices to those Class Members. In addition, pursuant to the Class

Action Fairness Act, 29 U.S.C. § 1711, et seq., notice was provided to the Attorneys General for

each of the states in which a Class Member resides and the Attorney General of the United States.

       7.      The form and methods of notifying the Class Members of the terms and conditions

of the proposed Settlement Agreement met the requirements of Rules 23(c)(2) and (e), and due

process, and constituted appropriate notice under the circumstances. Due and sufficient notice of

the Fairness Hearing and the rights of all Class Members have been provided to all people, powers

and entities entitled thereto, consistent with Rule 23 and due process.

       8.      The Court finds that the Settlement is fair, reasonable, and adequate, based on the

following findings of fact, conclusions of law, and determinations of mixed fact/law questions:

       A.      The Settlement was negotiated at arm’s length only after Class Counsel had




                                                 2
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 60 of 65 PageID# 1670




received pertinent information and documents from Defendant;

          B.   The Settling Parties were well positioned to evaluate the value of the Class Action;

          C.   If the Settlement had not been achieved, both Plaintiff and Defendant faced the

expense, risk, and uncertainty of extended litigation;

          D.   The amount of the Settlement ($1,200,000 (one million two-hundred thousand

dollars)) is fair, reasonable, and adequate. The Settlement amount is within the range of reasonable

settlements that would have been appropriate in this case, based on the nature of the claims, the

potential recovery, the risks of litigation, and settlements that have been approved in other similar

cases;

          E.   The Class Representative has actively and independently participated in the Class

Action;

          F.   The Class Representative and Class Counsel have concluded that the Settlement

Agreement is fair, reasonable and adequate;

          G.   Class Members had the opportunity to be heard on all issues regarding the

Settlement and release of claims by submitting objections to the Settlement Agreement to the

Court; and

          H.   There were        objections to the settlement.     of those objections were timely.

The Court has considered all of them and has overruled them with prejudice.

          I.   The Settlement was reviewed by an independent fiduciary, Fiduciary Counselors,

Inc., which has approved the Settlement.

          9.   The Motion for Final Approval of the Settlement Agreement is hereby GRANTED,

the Settlement of the Class Action is APPROVED as fair, reasonable and adequate to the Plan and

the Settlement Class.




                                                 3
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 61 of 65 PageID# 1671




       10.     The Action and all Released Claims asserted therein, whether asserted by the Class

Representative on his own behalf or on behalf of the Class Members, or derivatively on behalf of

the Plan, are dismissed with prejudice, without costs to any of the Settling Parties other than as

provided for in the Settlement Agreement.

       11.     The Class Representative and each Class Member and their respective heirs,

beneficiaries, executors, administrators, estates, past and present partners, officers, directors,

agents, attorneys, predecessors, successors, and assigns, shall be (1) conclusively deemed to have,

and by operation of this Order shall have, fully, finally, and forever settled, released, relinquished,

waived, and discharged Defendant, the Plan, and the Released Settling Parties from all Released

Claims, and (2) barred and enjoined from suing Defendant, the Plan, or the Released Settling

Parties in any action or proceeding alleging any of the Released Claims, even if any Class Member

may thereafter discover facts in addition to or different from those which the Class Member or

Class Counsel now know or believe to be true with respect to the Action and the Released Claims,

whether or not such Class Members have filed an objection to the Settlement.

       12.     The Plan shall be (1) conclusively deemed to have, and by operation of this Order

shall have, fully, finally, and forever settled, released, relinquished, waived, and discharged

Defendant and the Released Settling Parties from all Released Claims, and (2) barred and enjoined

from suing Defendant or the Released Settling Parties in any action or proceeding alleging any of

the Released Claims, even if the Plan or any Class Member on behalf of the Plan may thereafter

discover facts in addition to or different from those which the Plan or any Class Member now

knows or believes to be true with respect to the Action and the Released Claims.

       13.     The Class Representative and each Class Member shall be deemed to have released

Defendant, Defendant’s Counsel, Class Counsel, the Released Settling Parties, and the Plan from




                                                  4
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 62 of 65 PageID# 1672




any claims, liabilities, and attorneys’ fees and expenses arising from the allocation of the Gross

Settlement Amount or Net Settlement Amount and for all tax liability and associated penalties and

interest as well as related attorneys’ fees and expenses.

       14.        The Court finds that all applicable Class Action Fairness Act requirements have

been satisfied.

       15.        The Settlement Administrator shall have final authority to determine the share of

the Net Settlement Amount to be allocated to each Current Participant and each authorized Former

Participant pursuant to the Plan of Allocation approved by the Court.

       16.        Upon the Settlement Effective Date under the Settlement Agreement, all Settling

Parties, the Settlement Class, and the Plan shall be bound by the Settlement Agreement and by this

Final Approval Order.

       17.        Within twenty-one (21) calendar days following the issuance of all settlement

payments to Class Members as provided by the Plan of Allocation approved by the Court, the

Settlement Administrator shall prepare and provide to Class Counsel and Defense Counsel a list

of each person who received a settlement payment or contribution from the Qualified Settlement

Fund and the amount of such payment or contribution.

       18.        Unclaimed funds remaining after the completion of Settlement Administration, if

any, shall be distributed cy pres to the Fisher House Foundation.




       IT IS ORDERED on this ___ day of __________, 2021.



                                               HON. JOHN F. ANDERSON
                                               United States Magistrate Judge



                                                  5
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 63 of 65 PageID# 1673




 Glasscock v. Serco, Inc. Settlement Agreement
                               Exhibit 5
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 64 of 65 PageID# 1674

                                                                                       Seyfarth Shaw LLP
                                                                                   233 South Wacker Drive
                                                                                                Suite 8000
                                                                               Chicago, Illinois 60606-6448
                                                                                          T (312) 460-5000
                                                                                          F (312) 460-7000

                                                                                   imorrison@seyfarth.com
                                                                                          T (312) 460-5830

                                                                                         www.seyfarth.com

                                        February __, 2021

VIA FEDEX

[Address]

       Re:     Notice under the Class Action Fairness Act of 2005, 28 U.S.C. § 1711 et seq.,
               Glasscock v. Serco, Inc., Case No. 1:20-cv-00092, U.S. District Court for the
               Eastern District of Virginia

Dear Sir or Madam:

        Pursuant to the Class Action Fairness Act, 28 U.S.C. § 1715 (“CAFA”), I am writing, on
behalf of Defendant in the above-referenced matter, to provide your office with notice of the
parties’ proposed settlement. Please take notice of the following information.

       With Defendant’s consent, Plaintiff in the above-captioned matter filed a motion with the
United States District Court for the Eastern District of Virginia on February __, 2021, requesting
preliminary approval of the parties’ proposed settlement. As part of this notice, please find
copies of the following documents associated with this matter on the enclosed CD:

   1. The Complaint, and all amended complaints filed in the matter, including the operative
      Amended Complaint;

   2. The motion for preliminary approval of the settlement and all of its supporting documents,
      which include the proposed notice to be distributed to class members and the proposed
      settlement agreement. Class members do not have rights to request exclusion from the
      class;

   3. At this time, it is not feasible to provide a list of the class members who reside in each state
      and the estimated proportionate share of the claims of such members to the entire
      settlement. However, enclosed is a chart showing the approximate percentage of the
      estimated class members who reside in each state, based on data regarding current and
      former participants in the Serco Inc. 401(k) Plan. Because of the calculations that must be
      performed to determine class members’ allocations, it is not feasible at this time to provide
      further detail regarding the claims of class members in each state;

   4. A copy of the Court’s docket sheet; and

   5. A copy of the Court’s order granting preliminary approval.
Case 1:20-cv-00092-JFA Document 92-1 Filed 02/12/21 Page 65 of 65 PageID# 1675

                                                                                  February __, 2021
                                                                                             Page 2



        There are no contemporaneous agreements between class counsel and counsel for
Defendants in conjunction with the proposed settlement, other than the enclosed settlement
agreement. At this time, there has been no final judgment or notice of dismissal, and there are no
written judicial opinions relating to the matters detailed in this notice, except for the opinion
enclosed granting preliminary approval. The Court has scheduled the fairness hearing for
_______, 2021 at [TIME] in Courtroom ___, Albert V. Bryan U.S. Courthouse, 401 Courthouse
Square, Alexandria, VA 22314.

        If you have questions about this notice, the settlement, or the enclosed materials, or if you
did not receive any of the above-listed materials, please contact this office.

                                              Very truly yours,

                                              SEYFARTH SHAW LLP




                                              Ian H. Morrison

Enclosure




68052349v.2
